                                      Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 1 of 80 Page ID #:1




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                                     10   U.S.A. and ARMENIAN CULTURAL
                                          FOUNDATION
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                                                               UNITED STATES DISTRICT COURT
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                                               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                     14
                                     15   ARF DASHNAKTSUTYUN,                     Case No. 2:21-cv-05594
                                          WESTERN U.S.A., a California
                                     16   Mutual Benefit Corporation;             COMPLAINT FOR:
                                          ARMENIAN CULTURAL
                                     17   FOUNDATION, a California                1) CIVIL RICO - VIOLATION OF 18
                                          Nonprofit Public Benefit                   U.S.C. § 1961 ET SEQ
                                          Corporation,                               [RACKETEER INFLUENCED
                                     18                                              AND CORRUPT
                                                         Plaintiffs,                 ORGANIZATIONS ACT]
                                     19
                                                v.                                2) CONSPIRACY TO COMMIT
                                     20                                              CIVIL RICO - VIOLATION OF 18
                                          ARMENIAN REVOLUTIONARY                     U.S.C. § 1962(d) [RACKETEER
                                     21   FEDERATION WUSA, INC., a                   INFLUENCED AND CORRUPT
                                          California Mutual Benefit                  ORGANIZATIONS ACT]
                                          Corporation; ACF CENTRAL
                                     22   WUSA, INC., a California Public         3) LANHAM ACT VIOLATION
                                          Benefit Corporation; ACF                   [TRADEMARK INFRINGEMENT]
                                     23   CHAPTERS WUSA, INC., a                     [15 U.S.C. § 1125(a)]
                                          California Public Benefit
                                     24   Corporation; DARON                    4) LANHAM ACT VIOLATION
                                          KACHATOURIAN, an individual;             [UNFAIR COMPETITION/FALSE
                                                                                1
                                                                            COMPLAINT
                                      Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 2 of 80 Page ID #:2




                                      1   MELKON MELKONIAN, an                    ADVERTISING] [15 U.S.C. §
                                          individual; ROSTOM                      1125(a)]
                                      2   AINTABLIAN, an individual;
                                          VICKEN MOSES, an individual (aka     5) LANHAM ACT VIOLATION
                                          VICKEN BABIKIAN); KARO                  [FALSE DESIGNATION OF
                                      3   KHANJIAN, an individual; KNAR           ORIGIN] [15 U.S.C. § 1125(a)]
                                          KITABJIAN, an individual; GEV
                                      4   ISKAJYAN, an individual;             6) FALSE ADVERTISING [CAL.
                                          MIGANOUSH MELKONIAN, an                 BUS. & PROF. CODE § 17500 ET.
                                      5   individual; MKHITAR                     SEQ.]
                                          MORADIAN, an individual;
                                          VICKEN SOSIKIAN, an individual;      7) VIOLATION OF UNFAIR
                                      6   STEPAN BOYAJIAN, an individual;         BUSINESS PRACTICES ACT
                                          HRAYR GARABETIAN, an                    [CAL. BUS. & PROF. CODE §
                                      7   individual, and DOES 1-10,              17200 ET. SEQ.]
                                          inclusive,
                                      8                                        8) BREACH OF FIDUCIARY DUTY

                                                        Defendants.            9) AIDING AND ABETTING
                                      9                                           BREACH OF FIDUCIARY DUTY
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                                     10                                        10) TORTIOUS INTERFERENCE
                                                                                  WITH CONTRACTUAL
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                                     11                                           RELATIONS
                                                                               11) TORTIOUS INTERFERENCE
                                     12                                           WITH PROSPECTIVE
                                                                                  ECONOMIC ADVANTAGE
                                     13
                                                                               12) CONVERSION
                                     14                                        13) ACCOUNTING
                                     15                                        14) PRELIMINARY INJUNCTION
                                     16                                        15) DECLARATORY RELIEF

                                     17
                                     18                                         DEMAND FOR JURY TRIAL

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                                                                             2
                                                                         COMPLAINT
                                      Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 3 of 80 Page ID #:3




                                      1         Plaintiffs ARF DASHNAKTSUTYUN, WESTERN U.S.A. (formerly Armenian

                                      2   Revolutionary Federation-Dashnaktsutiun, Western U.S.A.), a California Mutual

                                      3   Benefit Corporation (hereinafter “ARFDW”), and ARMENIAN CULTURAL

                                      4   FOUNDATION, a California Nonprofit Public Benefit Corporation (“ACF”) (ARFDW

                                      5   and ACF collectively referred to herein as “ARFDW/ACF” or “Plaintiffs”) allege

                                      6   against Defendants ARMENIAN REVOLUTIONARY FEDERATION WUSA, INC., a

                                      7   California Mutual Benefit Corporation (the “ARF Imposter Corporation”), ACF

                                      8   CENTRAL WUSA, INC., a California Public Benefit Corporation, and ACF

                                      9   CHAPTERS WUSA, INC., a California Public Benefit Corporation (the “ACF Imposter
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                                     10   Corporations”), MELKON MELKONIAN, ROSTOM AINTABLIAN, VICKEN
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                                     11   MOSES (aka VICKEN BABIKIAN), KARO KHANJIAN, KNAR KITABJIAN, GEV

                                     12   ISKAJYAN, MIGANOUSH MELKONIAN, MKHITAR MORADIAN, VICKEN

                                     13   SOSIKIAN, STEPAN BOYAJIAN, and HRAYR GARABETIAN (collectively the

                                     14   “Imposter Central Committee”), DARON KACHATOURIAN, and DOES 1 through 10,

                                     15   inclusive (collectively, “Defendants” or “Imposter Enterprise”), the following:

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                                                                              COMPLAINT
                                      Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 4 of 80 Page ID #:4




                                      1                                      INTRODUCTION

                                      2         1.     ARFDW is a 130-year-old, grassroots (nonprofit) institution formed to

                                      3   advance the rights, culture, heritage and interests of the Armenian community.

                                      4         2.     ACF is an affiliate of ARFDW (and also a nonprofit) which works in close

                                      5   conjunction with the ARFDW to promote cultural and educational programs and

                                      6   initiatives for Armenian Americans, as well as fundraise, and manage facilities (it owns),

                                      7   utilized by both corporations to fulfill their humanitarian objectives.

                                      8         3.     Recently, a rogue group, comprised in large part of former officers of

                                      9   ARFDW and ACF as well as others, have created an Imposter Enterprise, comprised of
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                                     10   individuals as well as corporations with confusing similar names, in order to deceive the
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                                     11   membership and supporters of ARFDW/ACF, as well as the public, into providing the

                                     12   Imposter Enterprise with “donations,” thinking that they are supporting the work of

                                     13   ARFDW/ACF and to otherwise steal the assets of ARFDW/ACF.

                                     14         4.     As detailed herein, these actions have included:

                                     15                a. Stealing ARFDW’s confidential information, including its membership

                                     16                   lists, and seizing control over its social media profile (including its

                                     17                   Facebook account) to engage in a campaign of misrepresentation and to

                                     18                   sow confusion among ARFDW/ACF’s members as to the true

                                     19                   leadership of these organizations;

                                     20                b. The unauthorized use of ARFDW’s and ACF’s trademarks both to

                                     21                   impersonate the organizations and to create fake fundraisers for the

                                     22                   purpose of diverting funds intended for ARFDW and ACF to newly

                                     23                   formed, separate entities, set up for the benefit of Defendants’ Imposter

                                     24                   Enterprise;

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                                                                               COMPLAINT
                                      Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 5 of 80 Page ID #:5




                                      1                c. The incorporation of fake charitable corporations, operating out of an

                                      2                    auto parts and upholstery shop in Panorama City, California, with

                                      3                    intentionally confusing similar names to the ARFDW and ACF in order

                                      4                    to improperly divert funds and donations intended for ARFDW and

                                      5                    ACF;

                                      6                d. The theft of money from accounts held in the name of the ACF;

                                      7                e. The active physical intimidation of members of the ARFDW and ACF,

                                      8                    including from conducting meetings and other constitutionally protected

                                      9                    activities;
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                                     10                f. The defamation of members of the Board of Directors for the ARFDW
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                                     11                    and ACF, and persons associating with them, through online posts and

                                     12                    written correspondence;

                                     13                g. Falsely representing to be the Board of Directors of ARFDW and ACF

                                     14                    in order to deceive the ARFDW/ACF membership and general public

                                     15                    as part of a scheme and artifice to defraud; and,

                                     16                h. Purporting to publicly purge the ranks of 100 active members of

                                     17                    ARFDW/ACF with no authority to do so and calling a fake

                                     18                    ARFDW/ACF “Regional Convention” of people loyal to the Imposter

                                     19                    Enterprise’s agenda and with no authority to do so in order to deceive

                                     20                    the ARFDW/ACF membership and the general public.

                                     21         5.     In short, Defendants’ Imposter Enterprise has, through a myriad of actions,

                                     22   attempted to hijack ARFDW/ACFs’ organization, donors, and assets through brazenly

                                     23   unlawful and fraudulent conduct, constituting a pattern of racketeering activity, now

                                     24   necessitating this action.

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                                                                               COMPLAINT
                                      Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 6 of 80 Page ID #:6




                                      1                                       THE PARTIES

                                      2         6.     ARFDW is a nonprofit Mutual Benefit Corporation that has existed for

                                      3   more than a century, but which was formally incorporated in California in March

                                      4   2006. ARFDW’s principal place of business is located at 104 N. Belmont Street in

                                      5   Glendale, California. ARFDW is composed of 18 chapters, approximately 1,400

                                      6   members, and managed by a Board of Directors, which is referred to as the ARFDW

                                      7   Central Committee.

                                      8         7.     ARFDW’s Chapters are known by the following names and located in the

                                      9   following cities and municipalities: (i) Aharonian - Glendale, California; (ii) Aram
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                                     10   Manoukian - Torrance, California; (iii) Armen Karo - Orange County, California; (iv)
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                                     11   Zavarian - La Crescenta, California; (v) Lernavayr - Pasadena, California; (vi) Dro -

                                     12   Montebello, California; (vii) Rosdom - West San Fernando Valley, California; (viii)

                                     13   Aghbalian - Burbank, California; (ix) Karekin Njdeh - Hollywood, California; (x)

                                     14   Tehlirian - Fresno, California; (xi) Krisdapor - San Francisco, California; (xii) Arshavir

                                     15   Shiragian - North San Fernando Valley, California; (xiii) Ishkhan - Las Vegas, Nevada;

                                     16   (xiv) Sardarabad - San Jose, California; (xv) Serob Aghpure - Houston, Texas; (xvi)

                                     17   Papken Seuni - North Hollywood, California; (xvii) Kevork Chavoush - Phoenix,

                                     18   Arizona; and (xviii) Shant Student Association (no specific address).

                                     19         8.     The ACF is a nonprofit Public Benefit Corporation incorporated in

                                     20   California in July 1976. ACF shares the same principal place of business with the

                                     21   ARFDW and works in close conjunction and cooperation with the ARFDW to promote

                                     22   cultural and educational growth in the Armenian community. It is managed by a Board

                                     23   of Directors which is identical to the Board of Directors for the ARFDW.

                                     24   ///

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                                                                               COMPLAINT
                                      Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 7 of 80 Page ID #:7




                                      1         9.     Defendant Armenian Revolutionary Federation WUSA, Inc. (which will at

                                      2   times herein be referred to as the “ARF Imposter Corporation”) is a California

                                      3   Corporation, incorporated on or about February 8, 2021, as a nonprofit mutual benefit

                                      4   corporation in order to perpetuate Defendants’ scheme and artifice to defraud as set forth

                                      5   in this Complaint. As detailed below, the ARF Imposter Corporation was formed for

                                      6   the express purpose of improperly diverting funds belonging to and intended for

                                      7   ARFDW/ACF to Defendants and is knowingly in possession of stolen funds.

                                      8         10.    According to the California Secretary of State, the corporation was

                                      9   incorporated by Defendant Melkon Melkonian, its registered agent for service of
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                                     10   process, and has as its officers Defendants Daron Kachatourian (C.E.O.), Rostom
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                                     11   Aintablian (Secretary), and Vicken Moses (C.F.O.), who were all residents of the State

                                     12   of California during the relevant periods described herein. The entity originally listed

                                     13   as its principal place of business (in its articles of incorporation, filed with the California

                                     14   Secretary of State), Melkon Melkonian’s law firm address registered with the State Bar

                                     15   of California at 16530 Ventura Blvd., Suite 555 in Encino, California. However, the

                                     16   corporation’s business address was subsequently updated in March 2021 to 13820

                                     17   Saticoy Street, in Panorama City, California, the business address for an auto body

                                     18   upholstery supply shop named “Vic’s,” owned by Defendant Vicken Moses (aka Vicken

                                     19   Babikian).

                                     20         11.    Defendants ACF Central WUSA, Inc. and ACF Chapters WUSA, Inc.

                                     21   (which will at times herein be referred to as the “ACF Imposter Corporations” and

                                     22   collectively with the ARF Imposter Corporation as the “Imposter Corporations”) are

                                     23   California corporations, incorporated on or about March 25, 2021, also by Defendant

                                     24   Melkon Melkonian, its registered agent for service of process. Like the ARF Imposter

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                                                                                 COMPLAINT
                                      Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 8 of 80 Page ID #:8




                                      1   Corporation, these entities were formed to perpetuate Defendants’ scheme and artifice

                                      2   to defraud. The principal places of business listed for the ACF Imposter Corporation is

                                      3   also Defendant Vicken Moses’ auto body shop in Panorama City, California.

                                      4         12.     Defendants Rostom Aintablian, Karo Khanjian, Hrayr Garabetian, Stepan

                                      5   Boyajian, Knar Kitabjian, Gev Iskajyan, Miganoush Melkonian, Mkhitar Moradian,

                                      6   Vicken Moses (aka Vicken Babikian), Vicken Sosikian, and Melkon Melkonian

                                      7   (collectively, the “Imposter Central Committee”), were, at all relevant times stated

                                      8   herein, individuals residing in the State of California and performed the acts described

                                      9   herein, which were directed to and/or had effects in the County of Los Angeles, State of
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                                     10   California. Moreover, each of these individual Defendants are or were members of the
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                                     11   Imposter Central Committee, as defined herein, and participated in, authorized and/or

                                     12   ratified the acts described herein on behalf of the Imposter Central Committee, and

                                     13   ultimately for the benefit of the Imposter Corporations and Imposter Enterprise.

                                     14         13.   Plaintiffs are not aware of the true names and capacities of the

                                     15   individuals or entities named herein as DOES 1 through 10, inclusive, and therefore

                                     16   identify these DOE Defendants by such fictitious names. Plaintiffs are informed and

                                     17   believe, and on that basis allege, that each of the fictitiously named Defendants are

                                     18   in some manner responsible for the occurrences alleged herein and proximately

                                     19   caused Plaintiffs’ damages and injuries.

                                     20         14.   Plaintiffs further allege that each of the Defendants referenced herein,

                                     21   including DOES 1 through 10, were, at all relevant times, the agents, servants,

                                     22   employees, principals, joint venturers, alter egos, co-conspirators and/or partners of

                                     23   each other and that each defendant referenced herein was acting within the scope of

                                     24   authority conferred by all other defendants, whether said authority was actual or

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                                                                              COMPLAINT
                                      Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 9 of 80 Page ID #:9




                                      1   apparent.

                                      2
                                      3                             JURISDICTION AND VENUE

                                      4         15.   This Court has subject matter jurisdiction over this matter due to the

                                      5   federal questions presented herein, including pursuant to Section 43(a) of the

                                      6   Lanham Act (15 U.S.C. § 1125) and the Racketeer Influenced and Corrupt

                                      7   Organizations Act (18 U.S.C. § 1965).

                                      8         16.   This Court has personal jurisdiction over the Defendants named herein

                                      9   as each performed acts, which form the basis of ARFDW’s and ACF’s claims, in
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                                     10   the State and/or reside and/or are domiciled in the State.
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                                     11         17.   Moreover, as the events giving rise to the claims herein occurred in the

                                     12   judicial district where this Court is situated (including actions designed to infringe

                                     13   on ARFDW’s and ACF’s marks), and as this District Court is situated in the district

                                     14   in which Defendants (who performed predicate acts identified under 18 U.S.C. §

                                     15   1961 et seq.) all reside and/or are domiciled, venue is proper. See 28 U.S.C. §

                                     16   1391(b).

                                     17         18.   Finally, this Court has supplemental jurisdiction over all State-based

                                     18   claims set forth herein, as such claims are so related to claims in the action within

                                     19   the original jurisdiction of this Court that they form part of the same case or

                                     20   controversy. See 28 U.S.C. § 1367. For example, and as set forth in greater detail

                                     21   below, Defendants’ theft via unauthorized wire transfers and cashiers’ checks from

                                     22   bank accounts held in the name of Plaintiff ACF to the Imposter Enterprise in the

                                     23   amount of hundreds of thousands of dollars support both the predicate acts

                                     24   underpinning Plaintiffs’ claims for civil RICO and conspiracy to commit civil RICO

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                                                                             COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 10 of 80 Page ID #:10




                                      1   alleged herein as well as Plaintiffs’ State-based claim for conversion. Similarly, the

                                      2   acts of individual Defendants, who owed fiduciary obligations to ARFDW/ACF as

                                      3   former officers and directors of ARFDW/ACF or who knew of the existence of these

                                      4   fiduciary duties, in forming the Imposter Corporations and Imposter Enterprise,

                                      5   perpetuating the falsehood that the Imposter Corporations and ARFDW/ACF were

                                      6   one and the same through use of Plaintiffs’ trademarks, and conspiring with other

                                      7   Defendants to carry out a fraud on the public, support both ARFDW/ACF’s Lanham

                                      8   Act claims for Unfair Competition/False Advertising, Trademark Infringement and

                                      9   False Designation of Origin, as well as ARFDW/ACF’s State-based claims for
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                                     10   Violations of California’s Unfair Business Practices Act, Breach of Fiduciary Duty,
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                                     11   Aiding and Abetting Breach of Fiduciary Duty, and Tortious Interference with

                                     12   Contract and Prospective Economic Advantage, among others.

                                     13
                                     14                              GENERAL ALLEGATIONS

                                     15         Background of the ARFDW and ACF

                                     16         19.   To fully understand the actions and motivations of Defendants and the

                                     17   extent of their misconduct, the following provides context regarding ARFDW/ACF’s

                                     18   operations and history:

                                     19         20.   Beginning in 1915, the Armenian Genocide tragically resulted in the deaths

                                     20   of approximately 1.5 million people in the Ottoman Turkish Empire, as hundreds of

                                     21   thousands of survivors were dispersed all over the world. Over the ensuing years, these

                                     22   individuals created and organized what is referred to today as the Armenian Diaspora.

                                     23         21.   Regrettably, the Genocide was followed by decades of occupation over

                                     24   Armenia, with approximately 3 million individuals living in Soviet Armenia, and as of

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                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 11 of 80 Page ID #:11




                                      1   today, approximately 8 million Armenians living in the Diaspora.

                                      2         22.    The United States, and, more specifically, Southern California, was among

                                      3   one of the primary locations in which Armenian nationals settled and in which

                                      4   Armenians developed the Diaspora.

                                      5         23.    In fact, today, Southern California contains among the largest population

                                      6   of Armenians anywhere in the world outside of Armenia.

                                      7         24.    As Armenians fled political and religious persecution to locations

                                      8   throughout the world, certain organizations concurrently developed within diasporic

                                      9   communities with the stated mission of preserving Armenian community and heritage.
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                                     10         25.    These organizations gained significant influence in the Armenian
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                                     11   community, having served their roles for over 70 years (including from 1920 to 1991)

                                     12   as Armenia sought to regain its independence (from the Soviet Union) and thereafter.

                                     13         26.    One such organization, whose purpose was to coordinate amongst different

                                     14   groups of Armenians worldwide, was the Armenian Revolutionary Federation (“ARF”).

                                     15         27.    Despite its partially similar name and shared ideals, the ARF and ARFDW

                                     16   are entirely separate entities.

                                     17         28.    Indeed, the ARFDW is an autonomous organization, which has a

                                     18   membership consisting of Americans of Armenian heritage residing in the Western

                                     19   United States and operates exclusively pursuant to its own Bylaws and in conformance

                                     20   with California and United States law. The ARF, on the other hand, is an organization

                                     21   based out of Armenia, subject to the laws of that country.

                                     22         29.    As such, in its Bylaws, the ARFDW has always relied on and held, as a

                                     23   fundamental tenet, “organizational decentralization,” meaning that it (and each

                                     24   organization that shares a loose affinity with (but not affiliation with) the ARF

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                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 12 of 80 Page ID #:12




                                      1   throughout the world) operates independently and according to its own laws.

                                      2         30.   In fact, the limited overlap between the ARF and ARFDW generally occurs

                                      3   as the entities come together, once every 4 years, during which the ARF hosts a “World

                                      4   Congress,” and during which members are selected to a committee of the ARF, referred

                                      5   to as the “ARF Bureau.”

                                      6         31.   The ARF Bureau is the body designed to coordinate and facilitate

                                      7   communications among the various Armenian groups throughout the world and promote

                                      8   overall goals and ideology among these groups.

                                      9         32.   Other than the World Conference, historically, the ARF’s only other
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                                     10   interaction with the ARFDW occurs when, from time to time, it communicates with the
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                                     11   leadership of the ARFDW to share certain news of national significance in Armenia and

                                     12   the impact of such events on matters identified as priorities during the World Congress.

                                     13         33.   Accordingly, while the ARF Bureau’s communications have historically

                                     14   had some influence in setting agendas and priorities, neither the ARF nor the ARF

                                     15   Bureau have any legal authority over or serve any legal function with regard to the

                                     16   ARFDW and the ACF.

                                     17         34.   This separateness has become increasingly important in recent years as the

                                     18   ARF has developed into an increasingly active political party in Armenia, and therefore

                                     19   ensuring the ARFDW’s and ACF’s independence is crucial to ensuring that the

                                     20   organizations continue to remain compliant with California and United States law and

                                     21   can perform their work free from political influence.

                                     22   ///

                                     23   ///

                                     24   ///

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                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 13 of 80 Page ID #:13




                                      1         The Operations of ARFDW and its Bylaws

                                      2         35.    As set forth above, ARFDW is a Mutual Benefit Corporation, incorporated

                                      3   under the laws of the State of California, and is governed, inter alia, by its Bylaws,

                                      4   adopted in March 2006, the California Corporations Code (Cal. Corp. Code §§ 7110-

                                      5   8910), and United States law.        Indeed, as noted in the Preamble of its Bylaws,

                                      6   “[ARFDW] is an American organization. Based on the principle of [ ] organizational

                                      7   decentralization, the [ARFDW] is an independent organization. Its membership consists

                                      8   of Americans or Armenian heritage residing in the Western region of U.S.A. As a

                                      9   California nonprofit mutual benefit corporation, the [ARFDW] determines its own
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                                     10   course of action and procedures.” Attached hereto as Exhibit 1 is a copy of its Bylaws.
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                                     11         36.    As further detailed in its Bylaws, the ARFDW is managed by and through

                                     12   a Board of Directors, which is referred to in its Bylaws as the “Central Committee.” (Ex.

                                     13   1, Page 1, Article 2).

                                     14         37.    As recognized in the ARFDW’s Bylaws, the Central Committee:

                                     15                (i)     “is the supreme executive board of the [ARFDW]” (Ex. 1, Page 9,

                                     16                        Article 46);

                                     17                (ii)    “directs the overall activities of the [ARFDW] and supervises the

                                     18                        activities of the local bodies and organizational assemblies” (Ex. 1,

                                     19                        Page 9, Article 48);

                                     20                (iii)   “has the final authority regarding the interpretation of the bylaws and

                                     21                        the decisions of the Regional Convention” (Ex. 1, Page 10, Article

                                     22                        56);

                                     23                (iv)    “may dissolve local executive bodies or local assemblies if it deems

                                     24                        their actions to be illegal, in breach of [the] bylaws, or counter to

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                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 14 of 80 Page ID #:14




                                      1                      [ARFDW] purposes” (Ex. 1, Page 10, Article 58); and

                                      2                (v)   “In the case of disagreement amongst local executive bodies, the

                                      3                      decision or opinion of the Central Committee is mandatory on the

                                      4                      lower executive bodies.” (Ex. 1, Page 10, Article 57).

                                      5         38.    The Central Committee is a group composed of 5, 7, 9, or 11 directors

                                      6   elected at a “Regional Convention” held by the organization and convened every 2 years.

                                      7   (Ex. 1, Page 7, Article 40; Page 9, Article 47)

                                      8         39.    In addition to the Central Committee, the ARFDW is composed of

                                      9   members which each subscribe to a particular ARFDW chapter (referred to in the
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                                     10   ARFDW Bylaws as a “gomidehoutiune”) based on location and pay dues (with certain
                     L OS A NGELES




                                     11   exceptions for financially disadvantaged individuals). (Ex. 1, Pages 2-3, Articles 7-10)

                                     12         40.    Each chapter (or gomidehoutiune) is also run and organized by its own local

                                     13   committee, which is referred to as a “gomideh.” (Ex. 1, Page 2, Article 8)

                                     14         41.    In advance of a Regional Convention, the Central Committee sends a

                                     15   noticed invitation to each gomideh, outlining the agenda for the convention, with

                                     16   explanations and directions to be circulated amongst the general membership of the

                                     17   organization. (Ex. 1, Page 7, Articles 40)

                                     18         42.    Generally speaking, the Regional Convention is composed of elected

                                     19   delegates from the Central Committee, the gomidehs (chapter local committees), and

                                     20   through General Membership Meetings of each of the chapters (Ex. 1, Pages 7-8,

                                     21   Articles 40-42) and at the Regional Convention, these delegates approve budgets and

                                     22   activities for the next two years, examine and approve the financial activities of the

                                     23   organization and elect the new Central Committee, among other things. (Ex. 1, Page 8,

                                     24   Articles 43-44).

                                                                                  14
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 15 of 80 Page ID #:15




                                      1         43.   Finally, while the ARFDW’s Bylaws recognize that a World Congress is

                                      2   convened every 4 years, during which time delegates of organizations with a loose

                                      3   affinity with ARF elect an ARF Bureau, whose main responsibilities are to “function as

                                      4   the coordinator of ARF activities worldwide” (Ex. 1, Page, 12, Article 78), the Bylaws

                                      5   acknowledge and state that the ARF Bureau’s function is merely ministerial and has no

                                      6   legal force or effect on the ARFDW, including by noting that:

                                      7               (i)     “The Bureau … functions in compliance with the ARF principal of

                                      8                       organizational decentralization, whereby ARF organizational

                                      9                       regions – wherever they may be situated – determine their own
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10                       course of action and procedures” (Ex. 1, Page 11, Article 78);
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                                     11               (ii)    “The ARF organizations of outside regions and countries have no

                                     12                       authority and no jurisdiction over [ARFDW]” (Ex. 1, Page 11,

                                     13                       Article 70); and,

                                     14               (iii)   “The ARF organizations of outside regions and countries are not

                                     15                       permitted to implement their decisions and carry out their activities

                                     16                       within the jurisdiction of [ARFDW].” (Ex. 1, Page 11, Article 71)

                                     17
                                     18         The Operations of ACF

                                     19         44.   As set forth above, the ACF works closely with the ARFDW.

                                     20         45.   Generally speaking, the ACF manages and owns real property and

                                     21   performs charitable work with the purpose of promoting and encouraging Armenian

                                     22   culture and assisting Armenians with education and welfare programs.

                                     23         46.   The ACF also owns and manages several facilities out of which chapters

                                     24   of ARFDW operate and, throughout its history, the Board of Directors for the ACF

                                                                                     15
                                                                                  COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 16 of 80 Page ID #:16




                                      1   has been identical to the Board of Directors of the ARFDW.

                                      2
                                      3          2018 Election of ARFDW Central Committee

                                      4          47.    The chronology of events underpinning the claims in this action commence

                                      5   in or around 2018, with the election of members to the Central Committee of the

                                      6   ARFDW (and thus, to the ACF as well).

                                      7          48.    At the 52nd Regional Convention of the ARFDW, held at the end of

                                      8   June/beginning of July 2018, in conformance with its Bylaws, the following 11 members

                                      9   were elected to the Central Committee of the ARFDW and appointed with the following
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                                     10   titles and responsibilities:
                     L OS A NGELES




                                     11
                                                        i.   Carmen Ohanian, Chairperson
                                     12                ii.   Avedik Izmirlian, External Relations
                                                     iii.    Garo Ispendjian, Community Representative
                                     13               iv.    Garo Madenlian, Gomideh Relations
                                                       v.    Levon Kirakosian, Secretary
                                     14               vi.    Koko Topalian, Treasurer
                                                     vii.    Razmig Haroun, Advisor
                                     15             viii.    Steve Dadaian, Advisor
                                                      ix.    Razmig Shirinian, Advisor
                                     16                x.    Toros Kejejian, Advisor
                                                      xi.    Melkon Melkonian, Advisor
                                     17
                                     18          49.    The election of these individuals to the Central Committee was

                                     19   subsequently memorialized in a Circular sent to the Gomidehs and the General

                                     20   Membership, a true and correct copy of which is attached hereto as Exhibit 2.

                                     21

                                     22          Commencement of Unlawful Intervention and Plan to Interfere

                                     23          50.    Following the election of the Central Committee in 2018, the ARFDW

                                     24   and ACF operated efficiently and according to long-established routines, directed

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                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 17 of 80 Page ID #:17




                                      1   and managed by the aforementioned Central Committee.

                                      2        51.     However, in September 2019, the ARF Bureau circulated an

                                      3   unprecedented correspondence, which caused great discord and a splintering in the

                                      4   California-Armenian community.

                                      5        52.     Specifically, without any legal authority, the ARF Bureau issued an

                                      6   ultra vires “edict,” via letter, dated September 13, 2019, wherein the ARF Bureau

                                      7   purported to unilaterally appoint 4 new Central Committee members to the

                                      8   ARFDW’s Central Committee, in addition to the existing 11-member Central

                                      9   Committee that was duly and democratically elected in 2018.
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       A TTORNEYS A T L AW




                                     10        53.     The letter was circulated to ARFDW’s membership and stated that the
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                                     11   purpose of the edict was to more closely align the ARFDW’s principles with those

                                     12   of the Armenian community at large (meaning, abroad).

                                     13        54.     The “appointed” individuals in the letter were:

                                     14                i.   Rostom Aintablian;
                                                      ii.   Aida Dimejian;
                                     15              iii.   Hrayr Garabetian; and,
                                                     iv.    Stepan Boyajian
                                     16
                                     17        55.     The letter and its attempted hijacking of the Central Committee was

                                     18   unlawful on numerous accounts.

                                     19        56.     Among other things, the purported appointment contravened the clear

                                     20   and express provisions of the organization’s Bylaws, by not only disregarding the

                                     21   established and governing mechanism for electing Central Committee members, but

                                     22   disregarding the clear separation between the ARFDW and the ARF as well.

                                     23        57.     Frankly, neither the ARF nor ARF Bureau had any authority whatsoever

                                     24   to dictate governance obligations on ARFDW/ACF as the organizations are legally

                                                                                  17
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 18 of 80 Page ID #:18




                                      1   totally separate.

                                      2         58.    In fact, the clear separation between the ARFDW and the ARF is not

                                      3   only carefully laid out in the Bylaws (as summarized above), but was the subject of

                                      4   focused examination in 2012, in response to an inquiry by the US Department of

                                      5   Justice, investigating whether the ARFDW was supposed to register as a foreign

                                      6   agent under the Foreign Agents Registration Act (22 U.S.C. § 611 et seq.)

                                      7   [“FARA”].

                                      8         59.    Notably, based on many of the representations made in response to the

                                      9   US Department of Justice’s inquiry, which incorporated the same details of
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                                     10   governance as set forth herein, including, inter alia, that the ARFDW does not act
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                                     11   under the direction or control of the ARF, that its members are located within the

                                     12   Western United States, that the entity is governed by a Central Committee, and that

                                     13   the entity does not engage in political activities inside or outside of the United States,

                                     14   the US Department of Justice found no need for ARFDW to register under FARA

                                     15   and that the entities are indeed, separate, with no authority to act for the other.

                                     16         60.    Additionally, setting aside that the ARF Bureau had no authority

                                     17   whatsoever to direct the ARFDW, the persons purportedly “appointed” in no way

                                     18   reflected the desires of the organization’s membership (as they were not

                                     19   democratically elected), and the supposed “appointments” did not even conform to

                                     20   the logistical aspects of the organization’s governance, as the addition of new

                                     21   Central Committee members exceeded the maximum number of Central Committee

                                     22   members permitted under its Bylaws.

                                     23         61.    In short, the ARF Bureau letter was nothing more than an unlawful

                                     24   attempt by a third party with no governance rights to steer the substantial assets,

                                                                                  18
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 19 of 80 Page ID #:19




                                      1   influence, and authority of the ARFDW and ACF to groups based in Armenia, and

                                      2   a reaction to the ARFDW/ACF’s repeated refusals to capitulate to certain requests

                                      3   by the ARF Bureau.

                                      4         62.   Notwithstanding the foregoing, the ARF Bureau’s edict left the

                                      5   ARFDW’s membership in a state of disarray. This was due to the fact that while

                                      6   the ARF Bureau has no legal authority over the ARFDW, its statements have

                                      7   historically been given deference by members of the ARFDW and regrettably,

                                      8   certain opportunistic members seized upon this set of circumstances to cause

                                      9   disruption in the organization for their own ends, as evidenced below (and touted
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       A TTORNEYS A T L AW




                                     10   the false narrative that somehow the edict was controlling).
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                                     11         63.   In the wake of this discord and in order to keep “order in the ranks” (in

                                     12   the words of the Central Committee), the ARFDW allowed the aforementioned four

                                     13   individuals to participate in certain discrete and limited activities, hoping that the

                                     14   upcoming Regional Convention in 2020 would naturally resolve the attempted

                                     15   improper intervention by the ARF Bureau and resolve issues in the organization as

                                     16   a new Central Committee was formally elected.

                                     17         64.   In the meantime, these four “appointed” individuals were not made

                                     18   official members of the Central Committee as provided in the Bylaws, were not

                                     19   provided any material assignments, and were not placed on any ARFDW

                                     20   subcommittees.

                                     21         65.   In order to maintain the integrity of the organizations and their Bylaws,

                                     22   the Central Committee also attempted to delay any meaningful action requiring a

                                     23   vote until the forthcoming Regional Convention.

                                     24   ///

                                                                                19
                                                                             COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 20 of 80 Page ID #:20




                                      1         Further Attempts to Usurp Control over the ARFDW

                                      2         66.    In conformance with the Bylaws, on January 9, 2020, the Central

                                      3   Committee notified various chapters of the ARFDW, through their gomidehs, of the

                                      4   Central Committee’s decision to hold a Regional Convention from April 30, 2020

                                      5   to May 3, 2020 (at which time a new Central Committee would be elected) and

                                      6   delivered an agenda for the proposed Regional Convention.

                                      7         67.    However, in the wake of the COVID-19 pandemic becoming

                                      8   widespread in the United States (in March 2020), the Regional Convention was

                                      9   indefinitely postponed.
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       A TTORNEYS A T L AW




                                     10         68.    Accordingly, in the interim, the acting Central Committee continued to
                     L OS A NGELES




                                     11   perform their role until such time as a Regional Convention could be safely

                                     12   rescheduled.

                                     13         69.    Then, in September 2020, the Central Committee informed its

                                     14   membership that the Regional Convention would be held in early December 2020

                                     15   (starting on December 3, 2020) and directed chapters to hold local General Meetings

                                     16   to elect delegates to attend the convention.

                                     17         70.    At this time, it was apparent that the ARF Bureau’s efforts to gain control

                                     18   of the Central Committee through a vote of its membership would not be successful, as

                                     19   the majority of elected delegates to the Regional Convention did not support the ARF

                                     20   Bureau. Accordingly, the ARF Bureau demanded that the Regional Convention be

                                     21   cancelled and concurrently, certain chapters supporting the ARF Bureau failed to hold

                                     22   General Meetings to elect delegates. In response, while the Central Committee did not

                                     23   agree to cancel the Regional Convention, it elected to postpone the Convention several

                                     24   weeks until such time as all delegates were elected.

                                                                                 20
                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 21 of 80 Page ID #:21




                                      1         71.   However, fearing the ultimate outcome of the vote, before the Regional

                                      2   Convention was able to convene, the ARF Bureau, with no authority whatsoever,

                                      3   issued a new and even more improper unlawful edict, this time claiming it would

                                      4   unilaterally appoint an entirely new Central Committee to the ARFDW, as, in its

                                      5   words, the ARFDW had failed to do so in a timely manner under its Bylaws, among

                                      6   other contrived explanations.

                                      7         72.   In a letter, dated December 27, 2020, the ARF Bureau decreed that the

                                      8   new members of the Board (i.e., Central Committee) would be:

                                      9               i.   Rostom Aintablian;
                                                     ii.   Knar Kitabjian;
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       A TTORNEYS A T L AW




                                     10            iii.    Gev lskajyan;
                                                    iv.    Hrayr Garabetian;
                     L OS A NGELES




                                     11              v.    Miganoush Melkonian;
                                                    vi.    Mkhitar Moradian;
                                     12            vii.    Vicken Babikian;
                                                  viii.    Stepan Boyajian;
                                     13             ix.    Vicken Sosikian;
                                                     x.    Steve Dadaian; and,
                                     14             xi.    Melkon Melkonian
                                     15         73.   This new edict led to further chaos within the organization, where

                                     16   members took sides, as the Central Committee repeatedly reminded its members of

                                     17   the fundamental tenets of the organization and the express provisions of the

                                     18   ARFDW’s Bylaws.

                                     19         74.   However, while the Central Committee attempted to instill order, the

                                     20   Bureau’s appointed “Central Committee” (the “Imposter Central Committee”)

                                     21   immediately and in conjunction with the edict delivered by the Bureau, sent its own

                                     22   letter to ARFDW’s members attempting to confirm their appointment (see Exhibit

                                     23   3) and even attempted to give the individual chapters direction for conducting

                                     24   meetings amongst themselves.

                                                                               21
                                                                            COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 22 of 80 Page ID #:22




                                      1          75.      As demonstrated below, these individuals had nefarious motives,

                                      2   including to divert funds and assets belonging to ARFDW/ACF to the Imposter

                                      3   Enterprise for their own benefit. In fact, members of the Imposter Central

                                      4   Committee would subsequently register imposter corporations with the California

                                      5   Secretary of State to masquerade as ARFDW/ACF and engage in numerous instances

                                      6   of theft.

                                      7          76.      To push back against the tide of this unlawful action, re-instill

                                      8   confidence in its members that the ARF Bureau’s appointment was invalid, and to

                                      9   uphold the democratic processes contemplated under the Bylaws of the
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       A TTORNEYS A T L AW




                                     10   organization, the Central Committee held its own emergency meeting on December
                     L OS A NGELES




                                     11   27, 2020, and agreed to hold an Emergency Regional Convention the following day,

                                     12   on December 28, 2020.

                                     13          77.      At the Emergency Regional Convention, an election of the Central

                                     14   Committee was held where the following members were elected to the Central

                                     15   Committee:

                                     16                   i.   Carmen Ohanian
                                                         ii.   Garo Ispendjian
                                     17                iii.    Harut Mgrditchian
                                                        iv.    Koko Topalian
                                     18                  v.    Vahan Bezdikian
                                                        vi.    Alik Ourfalian
                                     19                vii.    Levon Kirakosian
                                                      viii.    Toros Kejejian
                                     20                 ix.    Sako Berberian
                                                         x.    Shahen Derderian
                                     21                 xi.    Arto Keuleyan
                                     22
                                     23          78.      Following the vote, the ARFDW local chapters were informed of the

                                     24   new Central Committee elections.

                                                                                      22
                                                                                   COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 23 of 80 Page ID #:23




                                      1         79.    However, with the uncertainty created by the various machinations of

                                      2   the ARF Bureau and Imposter Central Committee specified above, as well as

                                      3   challenges by certain individuals objecting to the validity of the Emergency

                                      4   Regional Convention, the organization was still in a state of disarray, which was

                                      5   exacerbated by the host of unlawful activity that immediately followed, as

                                      6   Defendants attempted to take control of the ARFDW and ACF by force.

                                      7         80.    Specifically, as detailed below, members of the Imposter Central

                                      8   Committee, with the assistance of other named Defendants identified herein, formed

                                      9   the Imposter Corporations to masquerade as ARFDW/ACF, steal personal property
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       A TTORNEYS A T L AW




                                     10   from ARFDW/ACF and use ARFDW/ACF’s trademarks and intellectual property to
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                                     11   perpetrate a fraud on ARFDW/ACF’s members and the general public by

                                     12   impersonating ARFDW/ACF.         Defendants also used harassment and physical

                                     13   violence    to   intimidate   ARFDW/ACF’s     membership,    stole   funds   from

                                     14   ARFDW/ACF’s bank accounts, and even perpetuated their fraudulent conduct in

                                     15   ongoing civil proceedings in Courts throughout California.

                                     16         81.    The Imposter Central Committee also attempted to influence and

                                     17   intimidate ARFDW and ACF members by issuing summary expulsions and

                                     18   suspensions of nearly 100 active members who rejected the false narratives and

                                     19   simultaneously planned a new “Regional Convention” in which all ARFDW and

                                     20   ACF members who spoke out against the unlawful actions taken by the Imposter

                                     21   Central Committee would not be permitted to attend.

                                     22         82.    Remarkably, one appointed member of the Imposter Central

                                     23   Committee, Steven Dadaian, a California attorney, was so concerned regarding the

                                     24   actions proposed to be taken and taken by the Imposter Central Committee that he

                                                                               23
                                                                            COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 24 of 80 Page ID #:24




                                      1   resigned on or before January 11, 2021, shortly after his appointment. He was

                                      2   subsequently (unilaterally) replaced on the Imposter Central Committee by

                                      3   Defendant Karo Khanjian.

                                      4
                                      5         Formation of Corporations to Masquerade as ARFDW/ACF

                                      6         83.    An integral element of Defendants’ scheme to overthrow and masquerade

                                      7   as ARFDW/ACF and steal their funds and membership was the formation of new

                                      8   corporations with confusing similar names to the ARFDW/ACF.

                                      9         84.    On February 8, 2021, Melkon Melkonian, an Imposter Central Committee
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   member and an attorney licensed by the State Bar of California, filed Articles of
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                                     11   Incorporation with the California Secretary of State for a new (nonprofit public benefit)

                                     12   corporation with an intentionally and confusingly similar name to the ARFDW, entitled

                                     13   “Armenian Revolutionary Federation WUSA, Inc.”

                                     14         85.    Conspicuously, these Articles listed as the corporation’s principal place of

                                     15   business Mr. Melkonian’s law firm address, only to be subsequently updated a month

                                     16   later (in a Statement of Information filed with the California Secretary of State) to an

                                     17   address in Panorama City, California, linked to an auto body upholstery supply business

                                     18   named “Vic’s,” owned by Defendant Vicken Moses, another Imposter Central

                                     19   Committee member and the ARF Imposter Corporation’s CFO.

                                     20         86.    In the Articles, Mr. Melkonian wrote that the purpose of the corporation

                                     21   was to “foster public awareness and support to Armenian American issues of concern

                                     22   through cultural, educational, civic and social programs” (i.e., the same mission as the

                                     23   ARFDW). A true and correct copy of the Articles are attached hereto as Exhibit 4.

                                     24   ///

                                                                                  24
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 25 of 80 Page ID #:25




                                      1         87.     As set forth below, Defendants would later hold out this entity, operating

                                      2   out of an auto body shop in Panorama City, as none other than the long-standing

                                      3   charitable organization of the ARFDW to solicit and divert funds from the public.

                                      4         88.     The Statement of Information filed by Mr. Melkonian conspicuously names

                                      5   the following officers of the corporation, with himself as its agent for service of process:

                                      6                 i. Daron Kachatourian (Chief Executive Officer)
                                                       ii. Rostom Aintablian (Secretary)
                                      7               iii. Vicken Moses (Chief Financial Officer)
                                      8         89.     A true and correct copy of the Statement of Information is attached hereto

                                      9   as Exhibit 5.
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10         90.     Two of these officers, Mr. Aintablian and Mr. Moses (aka Babikian) are
                     L OS A NGELES




                                     11   also Imposter Central Committee members.

                                     12         91.     Like the ARF Imposter Corporation, Mr. Melkonian also set up two

                                     13   separate entities to impersonate the ACF.

                                     14         92.     Specifically, on March 25, 2021, Mr. Melkonian incorporated entities with

                                     15   the names ACF Central WUSA, Inc. and ACF Chapters WUSA, Inc. which were

                                     16   intended to mirror the ACF (and were also registered as nonprofit Public Benefit

                                     17   Corporations, for the purported purpose to “foster public awareness and support of

                                     18   Armenian American issues”).

                                     19         93.     Attached hereto as Exhibit 6 are true and correct copies of the Articles of

                                     20   Incorporation for these two corporations (the ACF Imposter Corporations).

                                     21         94.     The ACF Imposter Corporations also bear the same business address as the

                                     22   ARF Imposter Corporation (i.e., Defendant Vicken Moses’s auto body supply shop in

                                     23   Panorama City, California).

                                     24   ///

                                                                                   25
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 26 of 80 Page ID #:26




                                      1         Theft of Organizational Information

                                      2         95.    To get its unlawful message out and mislead ARFDW/ACF’s membership,

                                      3   as detailed below, among the first acts of the Imposter Enterprise was a concerted effort

                                      4   to improperly seize the ARFDW’s database of information (including membership list),

                                      5   and seize control of its operational systems (including email servers and social media

                                      6   profiles), all which occurred approximately within two weeks of the Emergency

                                      7   Regional Convention specified above.

                                      8         96.    First, shortly after the Emergency Regional Convention, the ARFDW’s

                                      9   server was accessed and an attempt was made to change the password to the server,
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                                     10   which housed all of ARFDW’s corporate information, including, among other things,
                     L OS A NGELES




                                     11   ARFDW’s entire membership list.

                                     12         97.    While the password for the server was actually changed, fortunately, the

                                     13   ARFDW was able to retake possession of the server, but not before the entire

                                     14   membership lists for the ARFDW and ACF was stolen, and their historical archive of

                                     15   emails was lost.

                                     16         98.    The membership lists, comprised of over 1,300 names and contact

                                     17   information, was then utilized by Defendants to communicate with ARFDW’s members

                                     18   under the guise of representing the Central Committee, as exemplified below.

                                     19
                                     20         Theft of ARFDW Facebook Page

                                     21         99.    In conjunction with the theft of the ARFDW’s entire membership list,

                                     22   Defendants seized control of ARFDW’s Facebook profile, and then, as detailed below,

                                     23   used the page to disseminate false and misleading information about the ARFDW,

                                     24   deceive ARFDW’s members into believing that the ARF Imposter Corporation was the

                                                                                  26
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 27 of 80 Page ID #:27




                                      1   same as the ARFDW, and disparage the Central Committee members. The

                                      2   circumstances surrounding these actions are as follows:

                                      3         100. Before the appointment of the Imposter Central Committee, ARFDW

                                      4   members Alik Ourfalian and Toros Kejejian were administrators for the public ARFDW

                                      5   Facebook page, which has thousands of followers.

                                      6         101. Following the unlawful edict by the ARF Bureau, Defendants, through and

                                      7   with the assistance of Imposter Central Committee member Vicken Sosikian, took

                                      8   possession of the page and then removed Ms. Ourfalian and Mr. Kejejian as

                                      9   administrators.
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10         102. Mr. Sosikian managed this feat by utilizing his prior position on a
                     L OS A NGELES




                                     11   committee of the ARFDW to set up a Business Account for the ARFDW through

                                     12   Facebook’s Business Manager platform.

                                     13         103. Then, as administrator of the Business Account, Mr. Sosikian had

                                     14   ARFDW’s administrator rights changed so the duly elected Central Committee could

                                     15   not access it and put the account in the possession of the Imposter Enterprise, managed

                                     16   by the Imposter Central Committee.

                                     17         104. Defendants’ theft is even brazenly confirmed via Facebook’s reporting

                                     18   policies. Specifically, as part of Facebook’s corporate transparency rules, Facebook now

                                     19   lists the corporate organizations making public statements in public Facebook profiles,

                                     20   and as of July 2021, lists the ARF Imposter Corporation, Armenian Revolutionary

                                     21   Federation WUSA, Inc., (incorporated by the Imposter Central Committee Defendants

                                     22   in February 2021) as the page’s proprietor, as follows (despite the fact that the page was

                                     23   ///

                                     24   ///

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                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 28 of 80 Page ID #:28




                                      1   created on January 11, 2013):

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                                     10         105. Making matters worse, when the ARFDW’s real Central Committee
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                                     11   attempted to create an alternate Facebook page to get out its message, Defendants had

                                     12   their agents create posts to Facebook and elsewhere calling the real Central Committee’s

                                     13   new Facebook page a “fake” and directing members of the ARFDW to only follow the

                                     14   stolen social media page and website.

                                     15         106. The following is one such example:

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                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 29 of 80 Page ID #:29




                                      1         Theft of ARFDW Domain

                                      2         107. A similar occurrence, as took place with ARFDW’s Facebook profile, took

                                      3   place with ARFDW’s domain.

                                      4         108. Specifically, the ARFDW purchased and held (for many years) the domain

                                      5   arfwus.org which it used for emails.

                                      6         109. The password for this account was changed shortly following the

                                      7   Emergency Regional Convention.

                                      8         110. This was made possible as the domain was managed by Vache Thomassian,

                                      9   an ARFDW member and an individual subscribing to the Imposter Central Committee’s
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                                     10   propaganda, who, acting as an agent for the Imposter Enterprise, changed the domain
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                                     11   password.

                                     12         111.    As the ARFDW’s Central Committee was unable to recover control of the

                                     13   domain, this had the effect of causing the organization to lose much of its access to its

                                     14   historical emails.

                                     15         112. The ARFDW responded by purchasing a new domain, entitled arfdwus.org.

                                     16         113. However, in response, the Imposter Central Committee, for the benefit of

                                     17   the Imposter Enterprise, purchased a separate domain, entitled arfwest.org, and has since

                                     18   used it in order to spread their false propaganda, that they are the rightful controlling

                                     19   group of the ARFDW.

                                     20         114. Even more egregiously, agents for Defendants, through fake social media

                                     21   accounts, have taken to falsely declaring that the ARFDW’s new website is a “fake” and

                                     22   improperly redirecting the ARFDW members to the new manufactured account.

                                     23   ///

                                     24   ///

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                                                                                 COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 30 of 80 Page ID #:30




                                      1           115. The following is one such example:

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                                      9           116. Likewise, the stolen ARFDW Facebook page now directs ARFDW
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                                     10   members to the newly set up website for the ARF Imposter Corporation, ARFWest.org.
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                                     11   For example, the following is a true and correct screenshot of the stolen Facebook Page
                                     12   which     states   in   its   “About”   section   that   the   organization’s   website   is
                                     13   http://www.ARFwest.org:
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                                                                                  COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 31 of 80 Page ID #:31




                                      1         False Impersonation of ARFDW and ACF and Infringing Use of Trademarks

                                      2         117. Once the Imposter Enterprise seized the ARFDW/ACF membership list,

                                      3   Facebook page, and set up a competing domain, the Imposter Enterprise, through the

                                      4   Imposter Central Committee, began issuing letters and circulars to ARFDW members

                                      5   purporting to represent the true identity of the Central Committee of the ARFDW.

                                      6         118. Such letters, remarkably, bore (i) ARFDW’s business address (at 104 N.

                                      7   Belmont Street in Glendale, California, as reflected in its Bylaws and in filings with the

                                      8   California Secretary of State) (See Exhibit 7, Page 1, Article 2) and (ii) ARFDW’s

                                      9   trademarks, several of which the ARFDW has used for more than 40 years.
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                                     10         119. These trademarks include the names “Armenian Revolutionary Federation
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                                     11   Western United States,” “ARF Western USA,” “Armenian Revolutionary Federation-

                                     12   Dashnaktsutiun, Western U.S.A.,” “ARF Dashnaktsutiun, Western U.S.A.,” “ARFD

                                     13   Western United States,” and even the ARFDW’s stylized mark (collectively, “ARFDW

                                     14   Marks”), a true and correct copy of which is as follows:

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                                     21         120. Attached hereto as Exhibit 8 is one such example of a letter from the

                                     22   Imposter Central Committee, dated January 3, 2021, purporting to “isolate” (i.e.,

                                     23   excommunicate) Central Committee members elected at the Emergency Regional

                                     24   Convention, and bearing not only the ARFDW Marks but referencing the ARFDW

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                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 32 of 80 Page ID #:32




                                      1   and ACF headquarters.

                                      2         121. In another example, after a delegation of several Central Committee

                                      3   members visited Armenia in April 2021 to attend to the needs of families of wounded

                                      4   soldiers there, the Imposter Central Committee circulated a letter, dated April 8, 2021,

                                      5   and posted it to the fake website, bearing the ARFDW Marks, and stating the following:

                                      6         “NOTICE
                                      7         …there is a group of individuals in Armenia who, posing on behalf of
                                                the ARF Western US organizational unit, are engaged in seemingly
                                      8         ‘humanitarian’ activities, that are in reality completely unknown and
                                                suspicious to us. We hereby declare that the aforementioned group has
                                      9         nothing to do with the ARF Central Committee of Western US….”
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                                     10         A true and correct copy of this letter is attached hereto as Exhibit 9.
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                                     11
                                     12         122. Moreover, as described above, the Imposter Central Committee, through its

                                     13   member Melkon Melkonian, formed the fake “nonprofit” Imposter Corporations in

                                     14   February and March 2021, with names that were intentionally and confusingly similar

                                     15   to ARDFW/ACF, in order to pose as ARFDW/ACF and cause confusion among

                                     16   ARFDW members (resulting in actual confusion).

                                     17         123. The names of the Imposter Corporations, Armenian Revolutionary

                                     18   Federation WUSA, Inc., ACF Central WUSA, Inc. and ACF Chapters WUSA, Inc. are

                                     19   designed to mimic the names long used by Plaintiff ARFDW, including “Armenian

                                     20   Revolutionary Federation-Dashnaktsutiun, Western U.S.A.” and the shorthand name

                                     21   “ACF” commonly used by and attributed to Plaintiff Armenian Cultural Foundation, and

                                     22   to pose as the entity and its chapters.

                                     23         124. Using ARFDW/ACF’s marks and posing as ARFDW/ACF, the Imposter

                                     24   Corporations and Imposter Central Committee have sought donations from

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                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 33 of 80 Page ID #:33




                                      1   ARFDW/ACF’s membership and the public and have even directed the ARFDW/ACF’s

                                      2   members on the payment of their membership dues in efforts to direct funds intended

                                      3   for ARFDW/ACF to Defendants.

                                      4         125. For example, attached hereto as Exhibit 10 is a true and correct copy of a

                                      5   page from the Imposter Enterprise’s website, posted as of April 11, 2021, soliciting

                                      6   donations, while masquerading as ARFDW/ACF.

                                      7         126. As a separate example, attached hereto as Exhibit 11 is a true and correct

                                      8   copy of a letter dated May 23, 2021, wherein the Imposter Central Committee directs

                                      9   ARFDW members to direct the payment of their dues only to chapter heads recently
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       A TTORNEYS A T L AW




                                     10   “elected” (and not “excommunicated” by the Imposter Central Committee) to ensure
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                                     11   delivery of such funds to the Imposter Enterprise [stating "pay your dues to your

                                     12   gomideh, elected in 2019/2020, if they are still functional or only to the recently

                                     13   appointed gomidehs who have replaced some.”].

                                     14
                                     15         Disruption of ARFDW Business

                                     16         127. To further disrupt normal ARFDW business, Defendants and their agents

                                     17   also physically disrupted meetings and votes of individual chapters shortly following the

                                     18   purported appointment of the Imposter Central Committee.

                                     19         128. For example, in February 2021, the Glendale Chapter of the ARFDW was

                                     20   scheduled to hold elections, at the direction of the newly elected Central Committee,

                                     21   during a General Meeting of the chapter to select its gomideh.

                                     22         129. The Glendale Chapter had, until that time, been chaired by an individual by

                                     23   the name of Bedig Kazandjian, who was sympathetic to the ARF Bureau and accordingly

                                     24   sided with Defendants in their attempted coup.

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                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 34 of 80 Page ID #:34




                                      1         130. The meeting was scheduled for February 26, 2021, in the parking lot

                                      2   adjacent to the ACF Glendale Youth Center where the Glendale ARFDW Chapter

                                      3   operates out of, and great expense was undertaken to make the meeting safe in the wake

                                      4   of COVID-19. The meeting was organized with a large tent set up with chairs, tables

                                      5   and voting packets for the orderly administration of a vote.

                                      6         131. However, a group of approximately 30 men, led by Bedig Kazandjian and

                                      7   Miganoush Melkonian (a member of the Imposter Central Committee), jointly acted to

                                      8   disrupt the vote and meeting (in an attempt to ensure that Bedig Kazandjian was not

                                      9   democratically replaced by someone who was not loyal to the Imposter Central
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                                     10   Committee).
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                                     11         132. Half of the individuals, led by Hovig Saliba, went to the tent before the

                                     12   meeting and threw the carefully set tables and chairs upside down, removed paperwork

                                     13   for the vote that had been laid out amongst the seats, effected a shutdown of electricity

                                     14   to the tent, and destroyed certain sound equipment.

                                     15         133. The other half of these disruptors stood guard outside the tent while this

                                     16   was occurring and harassed and intimidated Glendale Chapter members from

                                     17   participating in the vote.

                                     18         134. Ultimately, the police department was called and disbursed the unruly

                                     19   group of disruptors, and the remaining members of the Glendale Chapter who were not

                                     20   frightened away completed the vote.

                                     21         135. However, incensed by the continuation and formal completion of the vote,

                                     22   the next day, the disruptors, led by Bedig Kazandjian, returned to the scene, disabled

                                     23   security cameras to the ACF Glendale Youth Center, and ransacked and stole various

                                     24   items from the center, including computers, membership lists, bank statements, and

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                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 35 of 80 Page ID #:35




                                      1   other organization records.

                                      2         136. Subsequently, even more disruptive and violent actions took place.

                                      3         137. For example, prior to May 5, 2021, a group of individuals in league with

                                      4   Defendants took possession of the DerOhanessian Community Center located in

                                      5   Montrose, California, which is the base for the La Crescenta Zavarian Chapter of the

                                      6   ARFDW and owned by the ACF.

                                      7         138. These individuals refused to permit ARFDW members entrance there, and

                                      8   accordingly, on May 5, 2021, a group of ARFDW members decided to go to the building

                                      9   to determine how the ACF could retake possession of its property from the Imposter
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                                     10   Enterprise which was occupying the building.
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                                     11         139. The group occupying the Center without the ACF’s permission was armed

                                     12   with weapons, including clubs, and even had security dogs with them.

                                     13         140. Kristapor Kouyumjian, a gentleman of approximately 73 years of age, and

                                     14   a member of the ARFDW heard that there may be a standoff between ARFDW members

                                     15   and individuals who wrongfully were occupying the DerOhanessian Community Center

                                     16   and drove to the center to observe.

                                     17         141. Mr. Kouyumjian was physically attacked by several individuals while he

                                     18   was in his car and required immediate medical attention. Upon information and belief,

                                     19   these individuals included Ara Boghossian, Kevork Ashjian, and Mike Keleshian, all

                                     20   persons affiliated with the radical Imposter Central Committee.

                                     21         142. Further, upon information and belief, Mr. Kouyumjian was taken to an

                                     22   emergency room in Glendale, California, and was diagnosed as having sustained

                                     23   significant injuries from the attack, which were particularly severe and exacerbated by

                                     24   the fact that he was wearing a hearing aid during the attack.

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                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 36 of 80 Page ID #:36




                                      1          Conducting False Fundraisers in the name of ARFDW/ACF and Soliciting

                                      2          Charitable Contributions

                                      3          143. As detailed above, in addition to impersonating the ARFDW online and

                                      4   interfering with its election activities, Defendants used the ARFDW’s marks to conduct

                                      5   fake fundraisers, falsely representing that these fundraising activities were being

                                      6   performed on behalf of the ARFDW and ACF.

                                      7          144. One such event was conducted on June 16, 2021, in Encino, California with

                                      8   the Imposter Central Committee subsequently posting the following message to the

                                      9   stolen Facebook account, celebrating that they had received more than $150,000
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                                     10   impersonating the ARFDW:
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                                     11
                                                 Excerpt:
                                     12
                                                 The ARF Western US Central
                                     13          Committee would like to thank
                                                 those who participated in our
                                     14          fundraising event held in
                                                 Encino yesterday. More than
                                     15          $150,000 was raised …

                                     16
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                                     20          145. As reflected herein, these fundraising efforts are continuing. (See Exhibit

                                     21   10).

                                     22          146. Moreover, as detailed below, these and other funds improperly obtained

                                     23   from Plaintiffs have all been used to fund Defendants’ continuing misconduct and have

                                     24   been directed to the Imposter Enterprise.

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                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 37 of 80 Page ID #:37




                                      1          Imposter Enterprise’s Attempt to Divert Charitable Gifts

                                      2         147. The Imposter Central Committee’s unlawful conduct has now even

                                      3   pervaded the Courts.

                                      4         148. In fact, only a month after the ARF Imposter Corporation was formed, an

                                      5   amended petition was filed in an Estate Probate Proceeding in San Francisco Superior

                                      6   Court, entitled The Estate of Vartkes Anivian [SFSC Case Number PES13297374],

                                      7   changing the beneficiary of a residual interest in the Estate of a decedent (who has been

                                      8   deceased since 2013) from ARFDW and ACF to the ARF Imposter Corporation newly

                                      9   formed by Mr. Melkonian and Mr. Aintablian.
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                                     10         149. The following is an abbreviated summary of this brazen fraud:
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                                     11         150. The Estate of Vartkes Anivian is a probate proceeding that has been pending

                                     12   since 2013.

                                     13         151. The attorney handling the probate proceeding is Vicken Sonentz-Papazian,

                                     14   an Imposter Central Committee sympathizer and a co-conspirator in the effort to

                                     15   overthrow the leadership of the ARFDW and divert funds to the newly formed Imposter

                                     16   Enterprise.

                                     17         152. Mr. Vartkes Anivian, now deceased, bequeathed in his Will a twenty

                                     18   percent (20%) residual interest in his estate to the “Los Angeles Chapter of the Central

                                     19   Committee of the Armenian Revolutionary Federation of the Western United States.”

                                     20         153. In numerous filings predating the illegal edict referenced above and the

                                     21   attempted coup by the Imposter Central Committee, Mr. Sonentz-Papazian included an

                                     22   accounting and reporting to the probate Court that the 20 percent residue in the estate

                                     23   was left to the “Los Angeles Chapter of the Central Committee of the Armenian

                                     24   Revolutionary Federation of the Western United States” and would be made out to the

                                                                                  37
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 38 of 80 Page ID #:38




                                      1   “Armenian Revolutionary Federation Western United States, (incorporated as Armenian

                                      2   Cultural Foundation….)”.

                                      3            154. However, in April 2021, Mr. Sonentz-Papazian informed Counsel for the

                                      4   ARFDW and ACF that he had amended the petition so that the bequest would instead

                                      5   be made to Defendant “Armenian Revolutionary Federation WUSA, Inc.”, the

                                      6   organization that Mr. Melkonian incorporated only months prior on February 8, 2021

                                      7   and which was not even in existence when the Decedent, Mr. Anivian passed away in

                                      8   2013.

                                      9            155. While providing various facially frivolous reasons for the last-minute
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                                     10   change upon fervent objection by Counsel for Plaintiffs, it was apparent that the change
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                                     11   was part of an improper scheme between Mr. Sonentz-Papazian and Mr. Melkonian (as

                                     12   admitted in Court filings), and possibly other Defendants, to perpetrate a fraud on the

                                     13   Court.

                                     14            156. As is manifestly apparent from the dates and parties involved, the decedent,

                                     15   Mr. Anivian, could not have possibly intended to bequeath part of his estate to an entity

                                     16   that was only newly formed eight years after his death, and it is apparent that the intended

                                     17   beneficiaries were, in fact, ARFDW and ACF.

                                     18            157. Attached hereto as Exhibit 12 are excerpts of filings from the Estate of

                                     19   Vartkes Anivian probate proceeding addressing the eleventh hour attempted beneficiary

                                     20   change prior to the probate Court’s ruling on a final disbursement of the estate funds.

                                     21            158. A hearing in the Estate proceeding on the final distribution of the estate is

                                     22   currently scheduled for July 28, 2021.

                                     23   ///

                                     24   ///

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                                                                                 COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 39 of 80 Page ID #:39




                                      1         Outright Embezzlement from ACF Bank Accounts

                                      2         159. After setting up the artifices described above, Defendants’ misconduct

                                      3   intensified and graduated to outright theft from ACF’s various bank accounts.

                                      4         160. Specifically, Defendants, coordinating with individuals who have direct

                                      5   access to ACF bank accounts at the local levels, had wire transfers initiated from ACF

                                      6   bank accounts and cashiers’ checks drawn from these accounts, commencing in April

                                      7   2021, in the amounts of hundreds of thousands of dollars.

                                      8         161. These transfers were conspicuously made out of accounts overseen by

                                      9   chairpersons for the San Francisco, La Crescenta and Orange County chapters of the
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                                     10   ARFDW (Khatchig Tazian, Mike Keleshian, and Garo Kiledjian, respectively), and each
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                                     11   has previously expressed his loyalty to the propaganda disseminated by the Imposter

                                     12   Central Committee.

                                     13         162. Brazenly, wire transfers appear to have been made to a Wells Fargo account

                                     14   in the name of the recently formed ARF Imposter Corporation, Armenian Revolutionary

                                     15   Federation WUSA, Inc.

                                     16         163. These unauthorized transfers included the following:

                                     17               a. A wire transfer of $192,000, occurring on April 12, 2021, from ACF’s

                                     18                  Orange County Chapter Bank of America Checking Account, to a Wells

                                     19                  Fargo Account in the name of Armenian Revolutionary Federation

                                     20                  WUSA, Inc.

                                     21               b. A transfer of $100,000 occurring on April 12, 2021, from the San

                                     22                  Francisco chapter of the ACF, from two of its First Republic Bank

                                     23                  checking accounts, and withdrawn via two separate cashier’s checks in

                                     24                  the amounts of $25,000 and $75,000; and,

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                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 40 of 80 Page ID #:40




                                      1                c. Two separate transfers of approximately $200,000 and $100,000

                                      2                   occurring in or around May 2021, from the La Crescenta Chapter of the

                                      3                   ACF, from two Bank of America checking accounts.

                                      4
                                      5         Defamatory Statements

                                      6         164. To add insult to injury, Defendants even set up fake Facebook accounts

                                      7   utilizing the names Asbed Armen and Tashnak Tsakan in order to make false, outlandish,

                                      8   and defamatory statements regarding Central Committee members of the ARFDW and

                                      9   the ACF and persons associating with them, which in some cases even included overt
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                                     10   threats of physical violence.
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                                     11         165. For example, the account registered to “Asbed Armen” has included the

                                     12   following disparaging posts regarding ARFDW Central Committee members:

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                                     20                a. On January 2, 2021, this account posted a picture of Dr. Carmen

                                     21                   Ohanian, the CEO and Chairwoman of ARFDW (pictured on left) and

                                     22                   Avedik Izmirlian, the CEO and Chairman of ACF (pictured on right),

                                     23                   with Armenian Prime Minister Nikol Pashinyan (pictured in center),

                                     24                   referring to Dr. Ohanian and Mr. Izmirlian as “Traitors”;

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                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 41 of 80 Page ID #:41




                                      1             b. On March 10, 2021, this account posted to Facebook that the AFRDW

                                      2                Central Committee had “highjacked” Asbarez (the Armenian Media

                                      3                Network), and that these individuals [referring to the Central

                                      4                Committee] are “thugs” and “thieves”;

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                                     11
                                     12             c. On April 9, 2021, this account posted a picture of Dr. Carmen Ohanian,

                                     13                with text embedded in the photo across Dr. Ohanian’s face stating “A

                                     14                pathological liar is someone who lies compulsively”;

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                                                                           COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 42 of 80 Page ID #:42




                                      1         166.   Similarly, the account registered to “Tashnak Tsakan” posted other

                                      2   disparaging and defamatory comments, including, by way of example, the following:

                                      3                a. In or around February 2021, this account posted a photo depicting

                                      4                  several ACF buildings in Belmont, Glendale, and Hollywood and stated

                                      5                  that these buildings are “occupied by a bunch of crooks” [referring to

                                      6                  the Central Committee] and accompanied by photos of Dr. Carmen

                                      7                  Ohanian, Levon Kirakosian and Vahe Bozoyan.

                                      8
                                      9
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                                     15         167. This account even posted the following overt threat to Central Committee

                                     16   member, Koko Topalian, posting a surveilled photo of him on March 2, 2021, with text

                                     17   stating “Once ARF [Bureau] decides, you cant hide anywhere, changing locks wont

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                                                                            COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 43 of 80 Page ID #:43




                                      1   help.”

                                      2            168. Certain persons elected to the ARFDW Central Committee during the

                                      3   Emergency Regional Convention were also sent threatening anonymous messages to

                                      4   their cell phones. For example, in the following text message sent to Harut Mgrditchian

                                      5   on February 23, 2021, the sender threatened the following, “Always remember even

                                      6   if [Bureau] agrees to not punish you, no one will trust you anymore. Once a traitor

                                      7   always a traitor. You think you can go to Armenia? Try and see where you will end

                                      8   up.”

                                      9
CSREEDER, PC
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                                     16
                                     17                               FIRST CLAIM FOR RELIEF

                                     18                 CIVIL RICO - VIOLATION OF 18 U.S.C. § 1961 ET SEQ.

                                     19      RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT

                                     20            Plaintiffs ARFDW and ACF allege as their First Claim for Relief against All

                                     21   Defendants including DOES 1 through 10, Violation of the Racketeer Influenced and

                                     22   Corrupt Organization Act, as follows:

                                     23            169. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                     24   through 168 inclusive, of this Complaint as though fully set forth herein.

                                                                                  43
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 44 of 80 Page ID #:44




                                      1          170. As detailed herein, Defendants are liable for violation of the Racketeer

                                      2   Influenced and Corrupt Organizations Act pursuant to section 18 U.S.C. § 1962,

                                      3   subdivisions (b) and (c).

                                      4          171. Generally, Defendants, through a series of coordinated, predicate acts,

                                      5   commencing in or around December 2020 and continuing through the present, have

                                      6   engaged in the following list of unlawful conduct proscribed under the Act:

                                      7                a. Wire fraud (18 USC § 1343) through the unauthorized transfer of stolen

                                      8                   funds via wire transfer from bank accounts in the name of the ACF as

                                      9                   well as electronic communications impersonating the ARFDW in
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10                   fundraising activities directed to the public and communications issued
                     L OS A NGELES




                                     11                   with the intent to defraud the public, raise funds by impersonating the

                                     12                   ARFDW, and further Defendants’ scheme;

                                     13                b. Mail fraud (18 USC § 1341) for the dissemination of fraudulent

                                     14                   correspondence bearing the marks of the ARFDW and intended to

                                     15                   defraud the public and raise funds by impersonating the ARFDW and

                                     16                   directing the payment of dues for the ARFDW as well as further

                                     17                   Defendants’ scheme; and,

                                     18                c. The transportation of stolen money in excess of $5,000 in interstate

                                     19                   commerce and the transfer of more than $5,000 as part of a scheme and

                                     20                   artifice to defraud (18 USC §§ 2314-2315).

                                     21          172. Specifically, Defendants engaged in the following pattern of racketeering

                                     22   activity:

                                     23                a. As set forth in paragraph 163 hereof, persons working at the direction

                                     24                   of the Imposter Central Committee (including Khatchig Tazian, Mike

                                                                                 44
                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 45 of 80 Page ID #:45




                                      1                Keleshian, and Garo Kiledjian) and for the benefit of the Imposter

                                      2                Enterprise, facilitated several withdrawals from bank accounts in the

                                      3                name of the ACF and deposited those funds in accounts set up in the

                                      4                name of the ARF Imposter Corporation. These actions included:

                                      5                   i. A wire transmission of funds on April 12, 2021, in the amount of

                                      6                      $192,000 from ACF’s Orange County Chapter Bank of America

                                      7                      Checking Account (overseen by Garo Kiledijian) to a Wells

                                      8                      Fargo Account in the name of Armenian Revolutionary

                                      9                      Federation WUSA, Inc.;
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10                   ii. Two transfers in or around May 2021, in amounts of
                     L OS A NGELES




                                     11                      approximately $200,000 and $100,000 made from the Bank of

                                     12                      America Checking Account associated with ACF’s the La

                                     13                      Crescenta Chapter (overseen by Mike Keleshian), to a Wells

                                     14                      Fargo Account in the name of Armenian Revolutionary

                                     15                      Federation WUSA, Inc.;

                                     16                  iii. Two cashier’s checks, issued on April 12, 2021, in the amounts

                                     17                      of $25,000 and $75,000 were withdrawn from two First Republic

                                     18                      Bank checking accounts in the name of the San Francisco chapter

                                     19                      of the ACF (overseen by Khatchig Tazian), and, upon information

                                     20                      and belief deposited in accounts held in the name of the Imposter

                                     21                      Enterprise.

                                     22             b. Additionally, as evidenced in paragraphs 99 through 126, and 144 and

                                     23                Exhibits 10 & 11 hereto, Defendants (including the Imposter Central

                                     24                Committee and ARF Imposter Corporation) circulated letters and

                                                                              45
                                                                           COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 46 of 80 Page ID #:46




                                      1                  circulars via mail and electronically, as well as made statements online,

                                      2                  purporting to represent the ARFDW to its membership, not only to usurp

                                      3                  control over ARFDW/ACF’s organization but to engage in fake

                                      4                  charitable fundraising activity and divert membership dues in Plaintiffs’

                                      5                  organization to Defendants.

                                      6               c. To date, the Imposter Central Committee, for the benefit of the Imposter

                                      7                  Enterprise, has issued no less than 34 circulars and 141 letters, sent via

                                      8                  email and U.S. mail, as well as text messages, to ARFDW’s and ACF’s

                                      9                  members and chapters since Defendants’ scheme began. Moreover, as
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       A TTORNEYS A T L AW




                                     10                  noted in paragraph 7 hereof, chapter members, to which electronic
                     L OS A NGELES




                                     11                  communications were directed, reside in multiple different states

                                     12                  outside of California, including Arizona, Nevada, and Texas.

                                     13                  Accordingly, the communications sent by Defendants described herein

                                     14                  were transmitted interstate.

                                     15         173. In addition to the foregoing, as alleged herein (including in paragraphs 129

                                     16   to 135, 136 to 142, and 164 to 168, hereof), the following individuals assisted

                                     17   Defendants in furthering their scheme through physical and verbal intimidation and

                                     18   harassment: Bedig Kazandjian, Hovig Saliba, and Miganoush Melkonian (through the

                                     19   organized disruption of ARFDW meetings), Ara Boghossian, Kevork Ashjian, and Mike

                                     20   Keleshian (through the battery of an ARFDW member), and persons posing as Asbed

                                     21   Armen and Tashnak Tsakan, whose identities are still under investigation (issuing

                                     22   disparaging and defamatory statements of Plaintiffs’ Central Committee members online

                                     23   and sending threatening text messages).

                                     24   ///

                                                                                 46
                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 47 of 80 Page ID #:47




                                      1         174. As further detailed herein, ARFDW/ACF as well as non-parties, including

                                      2   Plaintiffs’ elected Board Members and third parties have been injured as a result of the

                                      3   actions detailed herein. In particular, the funds improperly stolen from Plaintiffs’ bank

                                      4   accounts are no longer available to ARFDW/ACF to engage in their charitable works

                                      5   and the Services offered by ARFDW/ACF.

                                      6         175. The acts specified herein have also injured the public who have donated

                                      7   funds to the Imposter Enterprise posing as Plaintiffs with the expectation that such funds

                                      8   would be used towards Plaintiffs’ social programs.

                                      9         176. As detailed herein, the individual members of the Imposter Central
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   Committee as well as the officers of the Imposter Corporations all have an interest in
                     L OS A NGELES




                                     11   and control over the enterprise. The control of the officers is plainly set forth in the

                                     12   organizational documents filed with the California Secretary of State and the control and

                                     13   influence of the Imposter Central Committee is reflected by the fact that all actions have

                                     14   been performed by them, at their direction, and/or for their express benefit.

                                     15         177. Moreover, each of the Defendants have participated directly or indirectly,

                                     16   in the pattern of racketeering activity described herein.

                                     17         178. The acts described herein were continuous and interrelated, with the shared

                                     18   goal of acquiring, through illegal means, the assets and property of ARFDW/ACF for

                                     19   the benefit and use of Defendants (through the Imposter Corporations and to promote

                                     20   their agenda). Each of the acts used similar methods (including false statements

                                     21   regarding the rightful leadership of ARFDW/ACF and the theft of corporate property),

                                     22   with similar results.

                                     23         179. Without intervention by this Court, the unlawful activity described herein

                                     24   is threatened to and substantially certain to continue. In fact, the Imposter Central

                                                                                  47
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 48 of 80 Page ID #:48




                                      1   Committee is currently planning on holding its own “Regional Convention” from July

                                      2   15, 2021 to July 18, 2021 to try to "elect" a Central Committee after purporting to purge

                                      3   approximately 100 active members from the ARFDW/ACF ranks through fake public

                                      4   expulsions and suspensions, thereby ensuring that the only participants in the so-called

                                      5   Regional Convention will be supportive of its attempt to take over the organization by

                                      6   deceiving the ARFDW/ACF members into believing that the Imposter Corporations are

                                      7   the real ARFDW and ACF.

                                      8         180. The acts of Defendants were achieved through each working together for

                                      9   the aforementioned ends and their interrelationship with one another is both formal (in
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       A TTORNEYS A T L AW




                                     10   many cases, as purported corporate officers of fake corporations formed to engage in
                     L OS A NGELES




                                     11   theft and fraud, and fake committee members purporting to be controlling Central

                                     12   Committee members) as well as informal, with a shared goal of furthering their common

                                     13   illegal interest, the complete seizure of ARFDW/ACF’s membership in order to divert

                                     14   funds and property to their scheme.

                                     15         181. Defendants intended to commit the predicate acts described herein despite

                                     16   having knowledge that those acts were illegal. In fact, remarkably, several of the

                                     17   principal bad actors referenced herein are attorneys registered with the State Bar of

                                     18   California.

                                     19         182. The illegal acts of Defendants patently have had an effect on interstate

                                     20   commerce, given the diversion of funds intended for charitable purposes to organizations

                                     21   formed to mislead the public and transferred among different national US banks.

                                     22         183. Plaintiffs were directly and proximately damaged by Defendants’ actions

                                     23   in an amount to be determined at trial, and which currently exceeds $ 740,000.00.

                                     24   ///

                                                                                   48
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 49 of 80 Page ID #:49




                                      1                             SECOND CLAIM FOR RELIEF

                                      2                       CONSPIRACY TO COMMIT CIVIL RICO

                                      3                           VIOLATION OF 18 U.S.C. § 1962(d)

                                      4          Plaintiffs ARFDW and ACF allege as their Second Claim for Relief against All

                                      5   Defendants, including DOES 1 through 10, Conspiracy to Commit Violation of the

                                      6   Racketeer Influenced and Corrupt Organization Act, as follows:

                                      7          184. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                      8   through 183, inclusive, of this Complaint as though fully set forth herein.

                                      9          185. As detailed herein, Defendants are liable for the violation of the Racketeer
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   Influenced and Corrupt Organizations Act under sections 18 U.S.C. § 1962, subdivision
                     L OS A NGELES




                                     11   (d) for conspiring to violate those acts referenced under the First Claim for Relief and

                                     12   performing a number of overt acts in furtherance of the conspiracy.

                                     13          186. Defendants conspired with one another to defraud the public and

                                     14   ARFDW/ACF’s membership into believing the Imposter Corporations are

                                     15   ARFDW/ACF for purposes of diverting funds and donations intended for Plaintiffs and

                                     16   stealing funds belonging to Plaintiffs.

                                     17          187. Defendants each participated in the scheme to defraud, which was planned

                                     18   and executed with precision on several fronts, as evidenced by the coordinated timing

                                     19   of the theft of organizational controls, including Plaintiffs’ access to social media and

                                     20   emails, the incorporation of fake imposter entities, the changing of beneficiary claims in

                                     21   probate estates pending in the State, and the theft of ACF corporate funds, the reference

                                     22   to all members of the Imposter Central Committee in communications directed to

                                     23   ARFDW/ACF’s membership, as well as the physical disruption of Plaintiffs’ election

                                     24   activities.

                                                                                  49
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 50 of 80 Page ID #:50




                                      1          188. The acts of Defendants described herein had the goal of furthering

                                      2   Defendants’ racketeering enterprise to violate the Act.

                                      3          189. Conspiring Defendants, knowing their fellow conspirators (due to the close

                                      4   associations between existing and former ARFDW and ACF members, directors and

                                      5   officers), were aware of all of the details of the conspiracy (which was publicly

                                      6   disseminated through circulars, mailers and emails improperly claiming that the

                                      7   Imposter Central Committee was now in possession and control of Plaintiffs), and

                                      8   through their actions sought to further the conspiracy.

                                      9          190. As a direct and proximate consequence of the Defendants’ conspiracy, the
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   overt acts taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d),
                     L OS A NGELES




                                     11   Plaintiffs have been injured in their business and property, causing Plaintiffs to suffer

                                     12   monetary damages in an amount not less than $740,000, said damages to be proven at

                                     13   the time of trial.

                                     14
                                     15                              THIRD CLAIM FOR RELIEF

                                     16                              (LANHAM ACT VIOLATION)

                                     17               [TRADEMARK INFRINGEMENT & UNFAIR COMPETITION]

                                     18                                       (15 U.S.C. § 1125(a))

                                     19          Plaintiffs allege as their Third Claim for Relief against Defendants Rostom

                                     20   Aintablian, Karo Khanjian, Hrayr Garabetian, Stepan Boyajian, Knar Kitabjian, Gev

                                     21   Iskajyan, Miganoush Melkonian, Mkhitar Moradian, Vicken Moses (aka Vicken

                                     22   Babikian), Vicken Sosikian, Melkon Melkonian (collectively, the “Imposter Central

                                     23   Committee Defendants”), Armenian Revolutionary Federation WUSA, Inc., ACF

                                     24   Central WUSA, Inc., and ACF Chapters WUSA, Inc. (the “Imposter Companies”), and

                                                                                  50
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 51 of 80 Page ID #:51




                                      1   DOES 1-10, Trademark Infringement and Unfair Competition under the Lanham Act,

                                      2   as follows:

                                      3         191. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                      4   through 190, inclusive, of this Complaint as though fully set forth herein.

                                      5         192. The ARFDW is the owner of the common law trademarks “Armenian

                                      6   Revolutionary Federation Western United States,” “ARF Western USA,” “Armenian

                                      7   Revolutionary Federation-Dashnaktsutiun, Western U.S.A.,” “ARF Dashnaktsutiun,

                                      8   Western U.S.A.,” “ARFD Western United States” and also represented by the stylized

                                      9   mark referenced in paragraph 119 hereof (collectively, the “ARFDW Marks”).
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10         193. The ACF is the owner of the common law trademarks “Armenian Cultural
                     L OS A NGELES




                                     11   Foundation” and “ACF” (collectively, the “ACF Marks”).

                                     12         194. The ARFDW has used the ARFDW Marks exclusively and continuously in

                                     13   interstate commerce since at least 1976 (with the exception of the “ARFD Western

                                     14   United States” mark being used since at least 2013 and the stylized mark being used

                                     15   since at least 2019) in connection with providing charitable services to advance the

                                     16   rights, culture, heritage and interests of the Armenian community, and to promote

                                     17   cultural and educational programs and initiatives for Armenian Americans (the

                                     18   “Services”). Accordingly, the ARFDW has priority in the ARFDW Marks.

                                     19         195. Similarly, the ACF has used the ACF Marks exclusively and continuously

                                     20   in interstate commerce since at least 1976 in connection with providing the same or

                                     21   similar Services. As such, the ACF has priority in the ACF Marks.

                                     22         196. Plaintiffs have invested substantial time, effort and financial resources

                                     23   promoting their respective marks in connection with the marketing of their non-profit

                                     24   entities and services in interstate commerce, including through various social media

                                                                                 51
                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 52 of 80 Page ID #:52




                                      1   platforms.

                                      2         197. The ARFDW Marks and ACF Marks have become, through widespread

                                      3   and favorable public acceptance and recognition, an asset of substantial value as a

                                      4   symbol of Plaintiffs and their non-profit entities, the quality of their services, and their

                                      5   goodwill.

                                      6         198. The consuming public recognizes the ARFDW Marks and the ACF Marks

                                      7   and associates it with ARFDW/ACF, and the ARFDW Marks and the ACF Marks are

                                      8   inherently distinctive as applied to ARFDW/ACF’s charitable work and services.

                                      9         199. Further, the Plaintiffs’ marks have gained secondary meaning through the
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   longevity of their use, and are particularly well-known in the Armenian community.
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                                     11         200. Notwithstanding Plaintiffs’ established rights in their respective marks, the

                                     12   Imposter Central Committee Defendants, for the benefit of the Imposter Enterprise,

                                     13   fraudulently obtained control of Plaintiffs’ marks, and adopted and used the ARFDW

                                     14   Marks and ACF Marks in interstate commerce in connection with the identical services

                                     15   offered by Plaintiffs and advertised through the same channels (in fact, Defendants stole

                                     16   ARFDW’s Facebook profile and membership contact list to advertise the Services).

                                     17         201. Additionally, Defendants adopted and used the marks, Armenian

                                     18   Revolutionary Federation WUSA, Inc., ACF Chapters WUSA, Inc., and ACF Central

                                     19   WUSA, Inc. (collectively, the “Confusing Marks”), which are confusingly similar to

                                     20   Plaintiffs’ respective marks, in interstate commerce in connection with identical services

                                     21   offered by Plaintiffs.

                                     22         202. Without Plaintiffs’ consent, Defendants have used and continue to use the

                                     23   ARFDW Marks, ACF Marks and the Confusing Marks in connection with the identical

                                     24   services or advertising of the identical services offered by Plaintiffs, which are in direct

                                                                                   52
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 53 of 80 Page ID #:53




                                      1   competition with Plaintiffs.

                                      2         203. Upon information and belief, the Imposter Central Committee Defendants

                                      3   and the Imposter Corporations have engaged in their infringing activity despite having

                                      4   actual knowledge of Plaintiffs’ superior rights to and their use of their respective marks.

                                      5         204. Defendants’ unauthorized use of the ARFDW Marks, ACF Marks and the

                                      6   Confusing Marks in interstate commerce as described above constitutes trademark

                                      7   infringement and unfair competition under 15 U.S.C. § 1125(a) and has caused or is

                                      8   likely to cause consumer confusion, mistake, or deception, and lead to the false

                                      9   impression that Plaintiffs are affiliated with, endorse or sponsor Defendants, which will
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   damage Plaintiffs and the public.
                     L OS A NGELES




                                     11         205. Plaintiffs have no control over the quality of services provided by

                                     12   Defendants and because of the intentional source of confusion caused by Defendants

                                     13   along with its theft of the ARFDW Marks and ACF Marks, Plaintiffs have lost control

                                     14   over their valuable goodwill.

                                     15         206. Upon information and belief, Defendants have advertised their business and

                                     16   offered their services using the ARFDW Marks, ACF Marks, and the Confusing Marks

                                     17   with the intention of misleading, deceiving or confusing consumers as to the origin of

                                     18   their services and of trading on Plaintiffs’ reputation and goodwill. Defendants’ use of

                                     19   the ARFDW Marks, ACF Marks and the Confusing Marks constitutes willful,

                                     20   deliberate, and intentional trademark infringement.

                                     21         207. In fact, Defendants have already raised at least $150,000 purporting to

                                     22   represent the Plaintiffs, demonstrating that there has been and continues to be actual

                                     23   confusion among consumers as a result of the unauthorized use of the ARFDW Marks,

                                     24   ACF Marks and the Confusing Marks.

                                                                                  53
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 54 of 80 Page ID #:54




                                      1         208. As a direct and proximate result of Defendants’ trademark infringement and

                                      2   acts of unfair competition, Plaintiffs have suffered and will continue to suffer loss of

                                      3   income, profits, and goodwill and Defendants have and will continue to unfairly acquire

                                      4   income, profits, and goodwill.

                                      5         209. Defendants’ trademark infringement will cause further irreparable injury to

                                      6   Plaintiffs if Defendants are not restrained by this Court from further violation of

                                      7   Plaintiffs’ rights and Plaintiffs have no adequate remedy at law.

                                      8
                                      9                             FOURTH CLAIM FOR RELIEF
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10                              (LANHAM ACT VIOLATION)
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                                     11                       [FALSE ADVERTISING] (15 U.S.C. § 1125)

                                     12         Plaintiff ARFDW alleges as its Fourth Claim for Relief against the Imposter

                                     13   Central Committee Defendants, ARF Imposter Corporation, and DOES 1-10, False

                                     14   Advertising under the Lanham Act, as follows:

                                     15         210. ARFDW re-alleges and incorporates herein by reference paragraphs 1

                                     16   through 209, inclusive, of this Complaint as though fully set forth herein.

                                     17         211. As detailed herein, Defendants have made numerous false statements of

                                     18   fact in commercial advertisements about the ARFDW and its Services.

                                     19         212. Indeed, as set forth herein, Defendants have been wrongfully and falsely

                                     20   claiming that they represent the true identity of the ARFDW, that they are

                                     21   representatives of ARFDW, that ARFDW’s real Central Committee is comprised of

                                     22   “traitors,” “crooks,” “liars,” “thieves,” and “thugs,” and that Plaintiffs and their agents

                                     23   do not rightfully speak for ARFDW.

                                     24   ///

                                                                                  54
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 55 of 80 Page ID #:55




                                      1         213. Additionally, Defendants have been wrongfully and falsely representing

                                      2   that they are the true and proper proprietors of the Services of ARFDW, while supporting

                                      3   their claims through the unauthorized use of ARFDW Marks and the Confusing Marks.

                                      4         214. Defendants’ false statements are likely to mislead or confuse the public and

                                      5   lead to the false impression that ARFDW is affiliated with, endorses or sponsors

                                      6   Defendants, which will damage both ARFDW and the public.

                                      7         215. The deception is material, in that it is likely to influence ARFDW and ACF

                                      8   members and persons considering utilizing the Services of these corporations or

                                      9   donating to their causes.
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10         216. In fact, there has been and continues to be actual confusion among
                     L OS A NGELES




                                     11   consumers as a result of the unauthorized use of the ARFDW Marks because Defendants

                                     12   have already been able to raise at least $150,000 purporting to identify as the ARFDW.

                                     13         217. Defendants caused the false statements to enter interstate commerce

                                     14   through the channels set forth herein, including in circulars, mailers, via email, on public

                                     15   websites set up by Defendants, and on social media.

                                     16         218. As a direct and proximate result of Defendants’ false and misleading

                                     17   statements, Plaintiff has suffered and will continue to suffer loss of income, profits and

                                     18   goodwill and Defendants have and will continue to unfairly acquire income, profits, and

                                     19   goodwill.

                                     20         219. Defendants’ false and misleading statements have been made willfully,

                                     21   with knowledge of their falsity and a disregard for the truth, and Defendants are joint

                                     22   and several tortfeasors, as each substantially contributed to the injuries described herein.

                                     23         220. Defendants’ actions will cause further irreparable injury to Plaintiff if

                                     24   Defendants are not restrained by this Court from further violation of Plaintiff’s rights

                                                                                   55
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 56 of 80 Page ID #:56




                                      1   and Plaintiff has no adequate remedy at law.

                                      2
                                      3                               FIFTH CLAIM FOR RELIEF

                                      4                              (LANHAM ACT VIOLATION)

                                      5                   [FALSE DESIGNATION OF ORIGIN] (15 U.S.C. § 1125)

                                      6         Plaintiff ARFDW alleges as its Fifth Claim for Relief against the Imposter Central

                                      7   Committee Defendants, ARF Imposter Corporation, and DOES 1-10, False Designation

                                      8   of Origin under the Lanham Act, as follows:

                                      9         221. ARFDW re-alleges and incorporates herein by reference paragraphs 1
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   through 220, inclusive, of this Complaint as though fully set forth herein.
                     L OS A NGELES




                                     11         222. As set forth above, ARFDW is the owner of the ARFDW Marks and

                                     12   identifies itself by and through use of its marks and terms including “ARF West,”

                                     13   “Armenian     Revolutionary     Federation    Western   United    States,”    and   “ARF

                                     14   DASHNAKTSUTYUN, WESTERN U.S.A,” among others.

                                     15         223. As further set forth herein, Defendants have, without authorization, copied

                                     16   and used ARFDW designations, including the ARFDW Marks, ARFDW’s name, marks,

                                     17   and words, terms and devices and false designations of origins in interstate commerce

                                     18   associated with the advertising of their services.

                                     19         224. Specifically, Defendants have been wrongfully and falsely representing

                                     20   that they represent the true identity of ARFDW and that they are responsible for the

                                     21   achievements of ARFDW.

                                     22         225. Additionally, Defendants have been wrongfully and falsely representing

                                     23   that they are the true and proper proprietors of the Services of ARFDW, while supporting

                                     24   their claims through the unauthorized use of ARFDW Marks and the Confusing Marks.

                                                                                  56
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 57 of 80 Page ID #:57




                                      1         226. Defendants caused the false statements to enter interstate commerce

                                      2   through the channels set forth herein, including in circulars, mailers, via email, on public

                                      3   websites set up by Defendants, and on social media.

                                      4         227. Defendants’ unauthorized use of the ARFDW Marks is likely to mislead or

                                      5   confuse the public and lead to the false impression that the identical services provided

                                      6   by Defendants originated within ARFDW or that ARFDW is affiliated with, endorses

                                      7   or sponsors Defendants, which will damage both ARFDW and the public.

                                      8         228. Defendants have already been able to raise at least $150,000 by falsely

                                      9   identifying itself as the ARFDW, demonstrating that there has been and continues to be
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   actual confusion among consumers as a result of Defendants’ unauthorized use of the
                     L OS A NGELES




                                     11   ARFDW Marks.

                                     12         229. Plaintiff ARFDW has no control over the quality of services provided by

                                     13   Defendants and because of the source confusion caused by Defendants along with its

                                     14   theft of the ARFDW Marks, ARFDW has lost control over its valuable goodwill.

                                     15         230. As a direct and proximate result of Defendants’ false and misleading

                                     16   statements, Plaintiff has suffered and will continue to suffer loss of income, profits, and

                                     17   goodwill and Defendants have and will continue to unfairly acquire income, profits, and

                                     18   goodwill.

                                     19         231. Defendants’ actions will cause further irreparable injury to Plaintiff if

                                     20   Defendants are not restrained by this Court from further violation of Plaintiff’s rights

                                     21   and Plaintiff has no adequate remedy at law.

                                     22   ///

                                     23   ///

                                     24   ///

                                                                                   57
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 58 of 80 Page ID #:58




                                      1                               SIXTH CLAIM FOR RELIEF

                                      2                                 (FALSE ADVERTISING)

                                      3                      [CAL. BUS. & PROF. CODE § 17500 ET. SEQ.]

                                      4         Plaintiffs ARFDW and ACF allege as their Sixth Claim for Relief against the

                                      5   Imposter Central Committee Defendants, Imposter Corporations, and DOES 1-10, False

                                      6   Advertising under Cal. Bus. & Prof. Code § 17500 et seq., as follows:

                                      7         232. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                      8   through 231, inclusive, of this Complaint as though fully set forth herein.

                                      9         233. As detailed herein, Defendants have made numerous false statements of
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       A TTORNEYS A T L AW




                                     10   fact in commercial advertisements about the ARFDW and its services and regarding
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                                     11   services offered by Defendants. In fact, Defendants purport to be performing those

                                     12   services offered by ARFDW and that such services originated with them.

                                     13         234. Indeed, as set forth herein, Defendants have been wrongfully and falsely

                                     14   claiming that they represent the true identity of ARFDW and the correct representatives

                                     15   of ARFDW as Defendants have purported that ARFDW’s Central Committee is

                                     16   comprised of “traitors,” “crooks,” “liars,” “thieves,” and “thugs,” and that Plaintiffs and

                                     17   their agents do not rightfully speak for ARFDW.

                                     18         235. Defendants’ false statements are likely to mislead or confuse the public and

                                     19   lead to the false impression that ARFDW is affiliated with, endorses or sponsors

                                     20   Defendants, which will damage both ARFDW and the public.

                                     21         236. These advertisements were circulated through various mediums, including,

                                     22   without limitation, circulars, mailers, via email, on websites set up by Defendants and

                                     23   on social media.

                                     24   ///

                                                                                  58
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 59 of 80 Page ID #:59




                                      1         237. The advertisements were and are disseminated to and received by the

                                      2   public in California.

                                      3         238. Defendants have engaged in the advertising herein alleged with the intent

                                      4   to induce the public to provide donations relating to the Services performed by Plaintiffs

                                      5   to Defendants.

                                      6         239. Defendants’ advertising was untrue or misleading and likely to deceive the

                                      7   public in that Defendants did not actually represent the ARFDW and further did not

                                      8   intend to employ funds raised by the advertising to causes authorized by the AFRDW

                                      9   and ACF but instead with the intent to divert the funds to their own purposes.
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       A TTORNEYS A T L AW




                                     10         240. In making and disseminating the statements herein alleged, Defendants
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                                     11   knew, or by the exercise of reasonable care should have known, that the statements were

                                     12   untrue or misleading and so acted in violation of Business and Professions Code Section

                                     13   17500 et seq.

                                     14         241. Plaintiffs have suffered an injury in fact and have lost money as a result of

                                     15   the violations alleged in this Complaint, including the diversion of funds intended for

                                     16   ARFDW and ACF.

                                     17         242. Unless restrained by this Court, Defendants will continue to engage in

                                     18   untrue and misleading advertising, and Plaintiffs have no adequate remedy at law.

                                     19
                                     20                            SEVENTH CLAIM FOR RELIEF

                                     21              (VIOLATION OF UNFAIR BUSINESS PRACTICES ACT)

                                     22                     [CAL. BUS. & PROF. CODE § 17200 ET. SEQ.]

                                     23         Plaintiffs ARFDW and ACF allege as their Seventh Claim for Relief against All

                                     24   Defendants and DOES 1-10, Unfair and Unlawful Business Practices under Cal. Bus. &

                                                                                  59
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 60 of 80 Page ID #:60




                                      1   Prof. Code § 17200 et seq., as follows:

                                      2         243. Plaintiffs re-allege and incorporate herein by reference paragraphs 1
                                          through 242, inclusive, of this Complaint as though fully set forth herein.
                                      3

                                      4
                                                Unfair Business Practices
                                      5
                                                244. Defendants’ conduct threatens an incipient violation of antitrust law,
                                      6
                                          violates the policy or spirit of those laws as its effects are comparable to or the same as
                                      7
                                          a violation of the law, and otherwise significantly threatens or harms competition.
                                      8
                                                245. As set forth above, Defendants’ Misconduct includes, without limitation:
                                      9
                                                       a. Impersonating Plaintiffs’ entities through the formation of Imposter
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                                     10
                                                          Corporations and using Plaintiffs’ trademarks, name, goodwill, and
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                                     11
                                                          even its social media profile to disseminate false and misleading
                                     12
                                                          information regarding Plaintiffs to the public and to Plaintiffs’
                                     13
                                                          membership in a scheme to raise and misdirect funds intended for
                                     14
                                                          Plaintiffs to Defendants;
                                     15
                                                       b. Participating in a coordinated scheme to steal Plaintiffs’ property,
                                     16
                                                          including by initiating or authorizing wire transfers and withdrawing
                                     17
                                                          funds from Plaintiffs’ bank accounts, ransacking offices in which
                                     18
                                                          Plaintiffs’ chapters conduct business and converting personal property
                                     19
                                                          there, and misrepresenting to Courts and in other legal documents the
                                     20
                                                          relationships between Plaintiffs and Defendants (or lack thereof);
                                     21
                                                       c. Knowingly and maliciously interfering with Plaintiffs’ efforts to
                                     22
                                                          conduct their operations, including by disrupting General Meetings of
                                     23
                                                          its local chapters through force and intimidating (both verbally and
                                     24

                                                                                  60
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 61 of 80 Page ID #:61




                                      1                   physically) Plaintiffs’ members from peacefully participating in

                                      2                   Plaintiffs’ nonprofit work, circulating false propaganda, and promoting

                                      3                   disparaging and defamatory statements regarding Plaintiffs and their

                                      4                   Boards of Directors; and,

                                      5                d. Materially misrepresenting the origin and source of communications by

                                      6                   Defendants and ascribing such messaging to Plaintiffs.

                                      7
                                      8         Unlawful Business Practices

                                      9         246. Defendants’ conduct described herein also constitutes recognized
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       A TTORNEYS A T L AW




                                     10   violations of law and acts proscribed by law, statute, regulation, and common law,
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                                     11   including, without limitation, that such conduct constitutes: theft (Cal. Penal Code §

                                     12   484); receipt of stolen property (Cal. Penal Code § 496); conversion; fraud; intentional

                                     13   interference with contract and prospective economic advantage; Civil RICO and

                                     14   Conspiracy to commit RICO (18 U.S.C. § 1961 et seq.), with its underlying predicate

                                     15   acts including Mail Fraud [18 USCS § 1341] and Wire Fraud [18 USCS § 1343], among

                                     16   others, and Violations of the Lanham Act (including for false advertising, false

                                     17   designation of origin and unfair competition), as outlined herein.

                                     18         247. As a direct and proximate cause of Defendants’ actions, Plaintiffs’ interests

                                     19   have been irreparably injured.

                                     20         248. As such, Plaintiffs are entitled to restitution and injunctive relief, as

                                     21   determined at the time of trial, in addition to such other remedies set forth herein.

                                     22   ///

                                     23   ///

                                     24   ///

                                                                                   61
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 62 of 80 Page ID #:62




                                      1                              EIGHTH CLAIM FOR RELIEF

                                      2                            (BREACH OF FIDUCIARY DUTY)

                                      3         Plaintiffs ARFDW and ACF allege as their Eighth Claim for Relief against

                                      4   Defendants Melkon Melkonian, and DOES 1-10, Breach of Fiduciary Duty, as follows:

                                      5         249. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                      6   through 248, inclusive, of this Complaint as though fully set forth herein.

                                      7         250. As set forth herein, Melkon Melkonian, one of the principal actors in

                                      8   forming the Imposter Corporations, was an Advisor to the ARFDW and ACF and a

                                      9   member of the elected Central Committee immediately preceding the vote of December
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   28, 2020, and therefore owed fiduciary obligations to these corporations.
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                                     11         251. These fiduciary responsibilities were assumed voluntarily by this

                                     12   Defendant, and included the duty of utmost good faith and undivided loyalty, among

                                     13   other things.

                                     14         252. However, as set forth herein, Defendant breached his fiduciary obligations

                                     15   by, among other things, forming fake corporations for the purposes of attempting to

                                     16   divert and steal assets and funds belonging to or intended for Plaintiffs, and participating

                                     17   with the other Imposter Central Committee members in creating Imposter Corporations

                                     18   to pass themselves off as Plaintiffs.

                                     19         253. Defendant failed to act in good faith, in the best interests of ARFDW and

                                     20   ACF, and with such care as an ordinarily prudent person in a like position would use

                                     21   under similar circumstances.

                                     22         254. As a proximate cause of the breaches of fiduciary duty of care, good faith

                                     23   and loyalty by Defendant, Plaintiffs incurred significant damages of no less than

                                     24   $740,000 to date as well as other damages, subject to proof at trial.

                                                                                     62
                                                                                  COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 63 of 80 Page ID #:63




                                      1                               NINTH CLAIM FOR RELIEF

                                      2            (AIDING AND ABETTING BREACH OF FIDUCIARY DUTY)

                                      3         Plaintiffs ARFDW and ACF allege as their Ninth Claim for Relief against

                                      4   Defendants Daron Kachatourian, Rostom Aintablian, Vicken Moses (aka Vicken

                                      5   Babikian) and DOES 1-10, Aiding and Abetting Breach of Fiduciary Duty, as follows:

                                      6         255. ARFDW re-alleges and incorporates herein by reference paragraphs 1

                                      7   through 254, inclusive, of this Complaint as though fully set forth herein.

                                      8         256. As set forth above, there was a fiduciary relationship, voluntarily assumed

                                      9   by Defendant Melkon Melkonian owed to Plaintiffs.
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10         257. This resulted in a duty of utmost good faith and undivided loyalty.
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                                     11         258. Also as detailed above, Defendant Melkon Melkonian breached his

                                     12   fiduciary obligations to Plaintiffs.

                                     13         259. Defendants Daron Kachatourian, Rostom Aintablian, and Vicken Moses

                                     14   had actual knowledge of the existence of the duty owed to Plaintiffs, including by virtue

                                     15   of their membership in the ARFDW and the fact that Mr. Kachatourian formerly served

                                     16   in an officer role for the organization.

                                     17         260. Notwithstanding the foregoing, Defendants Daron Kachatourian, Rostom

                                     18   Aintablian, and Vicken Moses provided Defendant Melkon Melkonian with substantial

                                     19   assistance and/or encouragement in aid of his breach of fiduciary duty, including in

                                     20   forming, organizing and operating the imposter corporation, Armenian Revolutionary

                                     21   Federation WUSA, Inc., and disseminating false and misleading information regarding

                                     22   Plaintiffs, as detailed herein (including through Mr. Aintablian’ and Mr. Moses’

                                     23   participation in the Imposter Central Committee with Mr. Melkonian).

                                     24   ///

                                                                                    63
                                                                                 COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 64 of 80 Page ID #:64




                                      1         261. As a proximate result of aiding and abetting and/or participating in the

                                      2   breach of duty of Defendants, Plaintiffs incurred significant damages of no less than

                                      3   $740,000 to date as well as other damages, subject to proof at trial.

                                      4         262. The conduct of these Defendants was a substantial factor in causing

                                      5   Plaintiffs’ injuries, as alleged herein.

                                      6

                                      7                                TENTH CLAIM FOR RELIEF

                                      8       (TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS)

                                      9         Plaintiff ARFDW alleges as its Tenth Claim for Relief against the Imposter
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       A TTORNEYS A T L AW




                                     10   Central Committee Defendants, ARF Imposter Corporation, and DOES 1-10, Tortious
                     L OS A NGELES




                                     11   Interference with Contractual Relations, as follows:

                                     12         263. ARFDW re-alleges and incorporates herein by reference paragraphs 1

                                     13   through 262, inclusive, of this Complaint as though fully set forth herein.

                                     14         264. As set forth herein, under its Bylaws, each member of the ARFDW was to

                                     15   pay dues to the organization or its affiliate in order to fund the social programs and

                                     16   initiatives of ARFDW and ACF.

                                     17         265. The agreements between ARFDW and its membership were valid and in

                                     18   existence when violated by the acts of the Imposter Central Committee Defendants,

                                     19   operating on behalf of the Imposter Enterprise, and who, with knowledge of the

                                     20   existence of these agreements, and intending to cause a breach of these agreements,

                                     21   misrepresented their authority over the ARFDW to redirect the obligations and dues

                                     22   owed under the contracts for their own benefit.

                                     23         266. Defendants’ conduct caused actual breach or disruption of ARFDW’s

                                     24   contractual relationships with its members, including the payment of dues to Defendants

                                                                                    64
                                                                                 COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 65 of 80 Page ID #:65




                                      1   and/or the nonpayment of dues to Plaintiffs.

                                      2         267. Plaintiff ARFDW has been substantially damaged by the aforementioned

                                      3   conduct in an amount according to proof at trial.

                                      4         268. As Defendants’ actions were committed with malice, oppression and/or

                                      5   fraud, Plaintiff is entitled to punitive damages in an amount according to proof at trial.

                                      6

                                      7                            ELEVENTH CLAIM FOR RELIEF

                                      8          (TORTIOUS INTEFERENCE WITH PROSPECTIVE ECONOMIC

                                      9                                       ADVANTAGE)
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10         Plaintiffs ARFDW and ACF allege as their Eleventh Claim for Relief against All
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                                     11   Defendants and DOES 1-10, Tortious Interference with Prospective Economic

                                     12   Advantage, as follows:

                                     13         269. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                     14   through 268, inclusive, of this Complaint as though fully set forth herein.

                                     15         270. As set forth herein, Plaintiffs had and have an expectancy interest in

                                     16   receiving funds raised for the benefit of their social programs and initiatives, including

                                     17   from and among its members.

                                     18         271. As also detailed herein, Defendants, through various means, attempted to

                                     19   disrupt and did disrupt the existing and continuance of relationships between Plaintiffs,

                                     20   its members, and its donors.

                                     21         272. As exemplified herein, this was manifested by impersonating Plaintiffs to

                                     22   divert its funds to imposter corporations, and, in fact, Defendants did raise funds

                                     23   impersonating Plaintiffs and have also filed statements in Court proceedings in efforts

                                     24   to divert proceeds intended for Plaintiffs.

                                                                                   65
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 66 of 80 Page ID #:66




                                      1            273. It is manifest by Defendants’ actions summarized herein, that they were

                                      2   aware of Plaintiffs’ expectancy interests, knew injuries were substantially certain to

                                      3   occur from their conduct, and nevertheless engaged in the conduct.

                                      4            274. Plaintiffs have been directly damaged in an amount to be determined at

                                      5   trial.

                                      6            275. Defendants’ actions were committed with malice, oppression and/or fraud,

                                      7   and Plaintiffs are therefore entitled to punitive damages.

                                      8
                                      9                             TWELFTH CLAIM FOR RELIEF
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10                                      (CONVERSION)
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                                     11            Plaintiffs ARFDW and ACF allege as their Twelfth Claim for Relief against All

                                     12   Defendants, including DOES 1-10, Conversion, as follows:

                                     13            276. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                     14   through 275, inclusive, of this Complaint as though fully set forth herein.

                                     15            277. At all times herein mentioned, Plaintiffs were the rightful owners and

                                     16   intended beneficiaries of funds, which were improperly converted by Defendants, in the

                                     17   following amounts, in or around the following dates:

                                     18                  a. April 12, 2021: $ 192,000

                                     19                  b. April 12, 2021: $ 100,000

                                     20                  c. May 2021:      $ 300,000

                                     21                  d. June 16, 2021: $ 150,000

                                     22            278. As detailed herein, Defendants through unauthorized transfers and

                                     23   misrepresentation, converted these sums to their own use, and specifically to the

                                     24   imposter entity Armenian Revolutionary Federation WUSA, Inc. and, upon information

                                                                                  66
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 67 of 80 Page ID #:67




                                      1   and belief, the ACF Imposter Corporations.

                                      2         279. Plaintiffs have been substantially harmed as a result of the thefts described

                                      3   herein, in the amount of at least $ 742,000. Plaintiffs’ investigation is ongoing and may

                                      4   identify additional instances of theft.

                                      5         280. Defendants’ acts alleged above were willful, wanton, malicious, and

                                      6   oppressive, were undertaken with the intent to defraud, and justify the award of

                                      7   exemplary and punitive damages.

                                      8
                                      9                           THIRTEENTH CLAIM FOR RELIEF
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10                                       (ACCOUNTING)
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                                     11         Plaintiffs ARFDW and ACF allege as their Thirteenth Claim for Relief against

                                     12   All Defendants, including DOES 1-10, an Accounting, as follows:

                                     13         281. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                     14   through 280, inclusive, of this Complaint as though fully set forth herein.

                                     15         282. As detailed above, due to the various improper and unlawful activities of

                                     16   Defendants that conspired together to utilize, without authority, the persona of Plaintiffs

                                     17   to raise funds and convert personal property belonging to Plaintiffs, the full scope of

                                     18   money converted, funds raised, and money diverted is presently unknown and cannot be

                                     19   ascertained without an accounting, since the information necessary to determine that

                                     20   amount is, except as detailed herein, within the exclusive knowledge of the Defendants.

                                     21         283. As set forth herein, Plaintiffs presently know of at least $742,000 that has

                                     22   been improperly converted.

                                     23         284. In light of the relationship between the parties and the circumstances

                                     24   detailed herein, Plaintiffs’ legal remedies are inadequate without a proper accounting to

                                                                                   67
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 68 of 80 Page ID #:68




                                      1   determine the full scope of its injuries.

                                      2
                                      3                           FOURTEENTH CLAIM FOR RELIEF

                                      4                              (PRELIMINARY INJUNCTION)

                                      5         Plaintiffs ARFDW and ACF allege as their Fourteenth Claim for Relief against

                                      6   All Defendants, including DOES 1-10, Preliminary Injunction, as follows:

                                      7         285. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                      8   through 284, inclusive, of this Complaint as though fully set forth herein.

                                      9         286. Due to the acts of Defendants described herein, Plaintiffs seek a Temporary
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10   Restraining Order and/or a Preliminary and Permanent Injunction, enjoining the
                     L OS A NGELES




                                     11   following acts:

                                     12                a. Defendants conducting any meetings purporting to be the ARFDW or

                                     13                     ACF or any confusingly similar entity, or holding themselves out to

                                     14                     others, including the membership of Plaintiffs as being these entities or

                                     15                     having due authority to act on their behalf, including, but not limited to,

                                     16                     at any “Regional Convention” of the ARFDW/ACF;

                                     17                b. Defendants using trademarks belonging to Plaintiffs, including, without

                                     18                     limitation, ARFDW’s Marks and ACF’s Marks referenced herein;

                                     19                c. Defendants asserting, announcing, utilizing, claiming, advertising, or

                                     20                     communicating with the general public and the ARFDW/ACF’s

                                     21                     membership using the following names (or other confusingly similar

                                     22                     names): ARFDW, ARF Dashnaktsutyun, ARF Western USA, Armenian

                                     23                     Revolutionary Federation WUSA, ACF, and Armenian Cultural

                                     24                     Foundation WUSA;

                                                                                    68
                                                                                 COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 69 of 80 Page ID #:69




                                      1                d. Defendants disseminating advertising or marketing purporting to be

                                      2                    raising funds or speaking for Plaintiffs; and

                                      3                e. Defendants’ occupation or interference with ARFDW meetings and

                                      4                    votes or the due management and administration of real property owned

                                      5                    by ACF.

                                      6         287.     Plaintiffs further seek a Mandatory Injunction Ordering Defendants to

                                      7   immediately:

                                      8                a. Turn over the domains currently held by Defendants purporting to

                                      9                    represent Plaintiffs (including, without limitation, arfwest.org and
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10                    arfwus.org);
                     L OS A NGELES




                                     11                b. Turn over the ARFDW Facebook page and profile to Plaintiffs;

                                     12                c. Return all stolen and improperly raised and diverted funds to the ACF;

                                     13                d. Return all stolen personal property, including electronic files, of

                                     14                    ARFDW and ACF, including, without limitation, membership lists,

                                     15                    computers, bank statements, and other organization records; and,

                                     16                e. Turn over all ACF and ARFDW bank accounts bearing the federal tax

                                     17                    ID numbers of these corporations.

                                     18
                                     19                            FIFTEENTH CLAIM FOR RELIEF

                                     20                                (DECLARATORY RELIEF)

                                     21         Plaintiffs ARFDW and ACF allege as their Fifteenth Claim for Relief against All

                                     22   Defendants, including DOES 1-10, Declaratory Relief, as follows:

                                     23         288. Plaintiffs re-allege and incorporate herein by reference paragraphs 1

                                     24   through 287, inclusive, of this Complaint as though fully set forth herein.

                                                                                   69
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 70 of 80 Page ID #:70




                                      1         289. As set forth herein, Defendants: formed the Imposter Corporations;

                                      2   utilized, without authorization, Plaintiffs’ marks, domain, and social media profiles to

                                      3   hold themselves out as Plaintiffs or authorized representatives of Plaintiffs; and engaged

                                      4   in harassment and intimidation, all in a scheme to disrupt Plaintiffs’ operations and

                                      5   defraud the public and Plaintiffs’ members by posing as Plaintiffs.

                                      6         290. Defendants have been successful in disrupting the operations of Plaintiffs,

                                      7   as detailed herein, and causing confusion amongst the public and Plaintiffs’ members,

                                      8   as evidenced by funds raised by Defendants posing as Plaintiffs.

                                      9         291. Based on the foregoing, an actual controversy has arisen and now exists
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                                     10   between Plaintiffs and Defendants concerning their respective rights and duties with
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                                     11   respect to the governance, control, and administration of Plaintiffs’ organizations.

                                     12         292. Accordingly, among the other forms of relief sought herein, Plaintiffs seek

                                     13   a judicial determination of their rights and duties, including a declaration that:

                                     14                a. Defendants’ conduct, specified herein, is unlawful;

                                     15                b. Defendants, and each of them, have no authority to hold themselves out

                                     16                   as Plaintiffs or to hold out the Imposter Central Committee as the duly

                                     17                   elected Board of Directors of ARFDW or ACF;

                                     18                c. Defendants have no authority to control or administer ARFDW/ACF

                                     19                   and no purported appointment by any third-party group, including

                                     20                   without limitation, the ARF Bureau, has any force or effect on the

                                     21                   governance of Plaintiffs’ organizations.

                                     22                d. Plaintiffs are the intended recipients of all funds directed to or intended

                                     23                   for: the Armenian Revolutionary Federation-Dashnaktsutiun, Western

                                     24                   U.S.A, ARF Western United States, ARF Western U.S., the “Los

                                                                                   70
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 71 of 80 Page ID #:71




                                      1                     Angeles Chapter of the Central Committee of the Armenian

                                      2                     Revolutionary Federation of the Western United States,” the Armenian

                                      3                     Cultural Foundation, ACF, and such other derivations thereof as may

                                      4                     pertain to Defendants’ efforts to divert funds from Plaintiffs to

                                      5                     Defendants and the Imposter Corporations.

                                      6         293. A judicial declaration is necessary and appropriate at this time under the

                                      7   circumstances in order that Plaintiffs may continue to operate and govern their respective

                                      8   organizations without further interference from Defendants.

                                      9
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10                                  REQUEST FOR RELIEF
                     L OS A NGELES




                                     11         Wherefore, Plaintiffs ARFDW and ACF now pray for judgment as follows:

                                     12

                                     13         On the First Claim for Relief for CIVIL RICO against All Defendants,

                                     14   including DOES 1 through 10:

                                     15         1.     For an Order:

                                     16                a.      Causing all Defendants to divest themselves of the enterprise;

                                     17                b.      Imposing reasonable restrictions on the future activities or

                                     18                        investments of Defendants including, but not limited to, prohibiting

                                     19                        any person associated with or acting in connection with Defendants

                                     20                        from engaging in the same type of endeavor engaged in by

                                     21                        the enterprise, including, without limitation, purporting to represent

                                     22                        Plaintiffs for any purpose, including raising funds or initiating

                                     23                        transfers of funds from any accounts held in the name of Plaintiffs;

                                     24

                                                                                   71
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 72 of 80 Page ID #:72




                                      1         2.     For treble damages (pursuant to 18 USC § 1964(c));

                                      2         3.     For attorneys’ fees and costs (pursuant to 18 USC § 1964(c));

                                      3         4.     For prejudgment interest in an amount to be determined at the time of trial,

                                      4   as applicable;

                                      5         5.     For costs of suit herein incurred; and,

                                      6         6.     For such other and further relief as this Court deems proper.

                                      7
                                      8         On the Second Claim for Relief for CONSPIRACY TO COMMIT CIVIL

                                      9   RICO against All Defendants, including DOES 1 through 10:
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                                     10         1.     For an Order:
                     L OS A NGELES




                                     11                a.    Causing all Defendants to divest themselves of the enterprise;

                                     12                b.    Imposing reasonable restrictions on the future activities or

                                     13                      investments of Defendants including, but not limited to, prohibiting

                                     14                      any person associated with or acting in connection with Defendants

                                     15                      from engaging in the same type of endeavor engaged in by

                                     16                      the enterprise, including, without limitation, purporting to represent

                                     17                      Plaintiffs for any purpose, including raising funds or initiating

                                     18                      transfers of funds from any accounts held in the name of Plaintiffs or

                                     19                      conspiring to commit these actions;

                                     20         2.     For treble damages (pursuant to 18 USC 1964(c));

                                     21         3.     For attorneys’ fees and costs (pursuant to 18 USC 1964(c);

                                     22         4.     For prejudgment interest in an amount to be determined at the time of trial,

                                     23   as applicable;

                                     24         5.     For costs of suit herein incurred; and,

                                                                                  72
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 73 of 80 Page ID #:73




                                      1         6.     For such other and further relief as this Court deems proper.

                                      2
                                      3         On the Third Claim for Relief for LANHAM ACT VIOLATION

                                      4   ASSOCIATED WITH TRADEMARK INFRINGEMENT against Imposter

                                      5   Corporations, Imposter Central Committee Defendants, and DOES 1-10:

                                      6         1.     Actual, compensatory, restitutionary, and/or incidental damages and treble

                                      7                damages pursuant to 15 USC § 1117;

                                      8         2.     For an accounting of Defendants’ profits;

                                      9         3.     For prejudgment interest in an amount to be determined at the time of trial;
CSREEDER, PC
       A TTORNEYS A T L AW




                                     10         4.     For corrective advertising;
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                                     11         5.     For attorneys’ fees and costs;

                                     12         6.     For such other statutory damages as recognized under the Lanham Act;

                                     13         7.     For injunctive relief, including, without limitation, enjoining Defendants’

                                     14   use of Plaintiffs’ ARFDW Marks, ACF Marks and Defendants’ Confusing Marks and

                                     15   from identifying as Plaintiffs or purporting to speak on behalf of Plaintiffs, including in

                                     16   commercial advertisements and generally to the public;

                                     17         8.     For costs of suit herein incurred;

                                     18         9.     For such other and further relief as this Court deems proper.

                                     19
                                     20         On the Fourth Claim for Relief for LANHAM ACT VIOLATION

                                     21   ASSOCIATED WITH FALSE ADVERTISING against the ARF Imposter

                                     22   Corporation, Imposter Central Committee Defendants, and DOES 1-10:

                                     23         1.     For actual, compensatory, restitutionary, and/or incidental damages in an

                                     24                amount to be determined at trial;

                                                                                  73
                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 74 of 80 Page ID #:74




                                      1         2.    For treble damages (pursuant to 15 USC 1117);

                                      2         3.    For lost profits and disgorgement of Defendants’ profits;

                                      3         4.    For injunctive relief, including, without limitation, enjoining Defendants’

                                      4   use of Plaintiffs’ ARFDW Marks and Defendants’ Confusing Marks, and from

                                      5   identifying as Plaintiffs or purporting to speak on behalf of Plaintiffs, including in

                                      6   commercial advertisements and generally to the public;

                                      7         5.    For prejudgment interest in an amount to be determined at the time of trial;

                                      8         6.    For attorneys’ fees and costs;

                                      9         7.    For costs of suit herein incurred;
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                                     10         8.    For such other and further relief as this Court deems proper.
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                                     11
                                     12         On the Fifth Claim for Relief for LANHAM ACT VIOLATION

                                     13   ASSOCIATED WITH FALSE DESIGNATION OF ORIGIN against the ARF

                                     14   Imposter Corporation, Imposter Central Committee Defendants, and DOES 1-10:

                                     15         1.    For actual, compensatory, restitutionary, and/or incidental damages in an

                                     16               amount to be determined at trial;

                                     17         2.    For treble damages (pursuant to 15 USC § 1117);

                                     18         3.    For lost profits and disgorgement of Defendants’ profits;

                                     19         4.    For injunctive relief, including, without limitation, enjoining Defendants’

                                     20   use of Plaintiffs’ ARFDW Marks and Defendants’ Confusing Marks, and from

                                     21   identifying as Plaintiffs or purporting to speak on behalf of Plaintiffs, including in

                                     22   commercial advertisements and generally to the public;

                                     23         5.    For prejudgment interest in an amount to be determined at the time of trial;

                                     24         6.    For attorneys’ fees and costs;

                                                                                 74
                                                                              COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 75 of 80 Page ID #:75




                                      1         7.     For costs of suit herein incurred;

                                      2         8.     For such other and further relief as this Court deems proper.

                                      3

                                      4         On the Sixth Claim for Relief for FALSE ADVERTISING UNDER CAL.

                                      5   BUS. & PROF. CODE § 17500 ET. SEQ against Imposter Corporations, Imposter

                                      6   Central Committee Defendants, and DOES 1-10:

                                      7         1.     For lost profits and disgorgement of Defendants’ profits;

                                      8         2.     For injunctive relief, including, without limitation, enjoining Defendants’

                                      9   use of Plaintiffs’ ARFDW Marks, ACF Marks and Defendants’ Confusing Marks, and
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                                     10   from identifying as Plaintiffs or purporting to speak on behalf of Plaintiffs, including in
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                                     11   commercial advertisements and generally to the public;

                                     12         3.     For prejudgment interest in an amount to be determined at the time of trial;

                                     13         4.     For costs of suit herein incurred;

                                     14         5.     For such other and further relief as this Court deems proper.

                                     15
                                     16         On the Seventh Claim for Relief for VIOLATION OF UNFAIR BUSINESS

                                     17   PRACTICES ACT [CAL. BUS. & PROF. CODE § 17200 ET. SEQ.] against All

                                     18   Defendants, including DOES 1-10:

                                     19         1.     For restitution in an amount to be determined at the time of trial;

                                     20         2.     For prejudgment interest in an amount to be determined at the time of trial;

                                     21         3.     For injunctive relief, including, without limitation, as to those Unfair and

                                     22                Unlawful Business Practices specified in paragraphs 243 through 248

                                     23                hereof;

                                     24         4.     For costs of suit incurred herein;

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                                                                               COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 76 of 80 Page ID #:76




                                      1         5.    For such other and further relief as this Court deems proper.

                                      2
                                      3         On the Eighth Claim for Relief for BREACH OF FIDUCIARY DUTY

                                      4   against Defendants Melkon Melkonian, and DOES 1-10:

                                      5         1.    For actual, compensatory, restitutionary, and/or incidental damages in an

                                      6   amount to be determined at trial;

                                      7         2.    For restitution;

                                      8         3.    For constructive trust;

                                      9         4.    For injunctive relief, as appropriate;
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                                     10         5.    For prejudgment interest in an amount to be determined at the time of trial;
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                                     11         6.    For attorneys’ fees and costs;

                                     12         7.    For costs of suit herein incurred;

                                     13         8.    For such other and further relief as this Court deems proper.

                                     14
                                     15         On the Ninth Claim for Relief for AIDING AND ABETTING BREACH OF

                                     16   FIDUCIARY DUTY against Defendants Daron Kachatourian, Rostom Aintablian,

                                     17   Vicken Moses, and DOES 1-10:

                                     18         1.    For actual, compensatory, restitutionary, and/or incidental damages in an

                                     19               amount to be determined at trial;

                                     20         2.    For restitution;

                                     21         3.    For constructive trust;

                                     22         4.    For injunctive relief, as appropriate;

                                     23         5.    For prejudgment interest in an amount to be determined at the time of trial;

                                     24         6.    For attorneys’ fees and costs;

                                                                                   76
                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 77 of 80 Page ID #:77




                                      1         7.   For costs of suit herein incurred;

                                      2         8.   For such other and further relief as this Court deems proper.

                                      3

                                      4         On the Tenth Claim for Relief for TORTIOUS INTERFERENCE WITH

                                      5   CONTRACTUAL RELATIONS against the ARF Imposter Corporation, Imposter

                                      6   Central Committee Defendants, and DOES 1-10:

                                      7         1.   For actual, compensatory, restitutionary, and/or incidental damages in an

                                      8              amount to be determined at trial;

                                      9         2.   For prejudgment interest in an amount to be determined at the time of trial;
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                                     10         3.   For punitive damages;
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                                     11         4.   For costs of suit incurred herein;

                                     12         5.   For such other and further relief as the court may deem proper.

                                     13
                                     14         On the Eleventh Claim for Relief for TORTIOUS INTERFERENCE WITH

                                     15   PROSPECTIVE ECONOMIC ADVANTAGE against All Defendants, including

                                     16   DOES 1-10:

                                     17         1.   For actual, compensatory, restitutionary, and/or incidental damages in an

                                     18              amount to be determined at trial;

                                     19         2.   For prejudgment interest in an amount to be determined at the time of trial;

                                     20         3.   For punitive damages;

                                     21         4.   For costs of suit incurred herein;

                                     22         5.   For such other and further relief as the court may deem proper.

                                     23   ///

                                     24   ///

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                                                                             COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 78 of 80 Page ID #:78




                                      1         On the Twelfth Claim for Relief for CONVERSION against All Defendants,

                                      2   including DOES 1-10:

                                      3         1.     For actual, compensatory, restitutionary, and/or incidental damages in an

                                      4   amount to be determined at trial;

                                      5         2.     For constructive trust;

                                      6         3.     For prejudgment interest in an amount to be determined at the time of trial;

                                      7         4.     For punitive damages;

                                      8         5.     For costs of suit herein incurred;

                                      9         6.     For such other and further relief as this Court deems proper.
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                                     11         On the Thirteenth Claim for Relief for an ACCOUNTING against All

                                     12   Defendants, including DOES 1-10:

                                     13         1.     For an accounting of all sums stolen and improperly held by Defendants,

                                     14   including raised by Defendants purporting to be or act on behalf of Plaintiffs, transferred

                                     15   and withdrawn from Plaintiffs’ bank accounts, and otherwise rightfully owing and

                                     16   belonging to Plaintiffs.

                                     17
                                     18         On the Fourteenth Claim for Relief for PRELIMINARY INJUNCTION

                                     19   against All Defendants, including DOES 1-10:

                                     20         1.     For a Temporary Restraining Order, Preliminary Injunction, and Permanent

                                     21   Injunction enjoining Defendants, and their officers, agents, joint venturers, employees,

                                     22   affiliates, representatives, and/or anyone acting on their behalf, from taking the actions

                                     23   set forth hereinabove in paragraph 286, and Ordering a Mandatory Injunction for those

                                     24   items set forth hereinabove in paragraph 287, which are incorporated herein by this

                                                                                    78
                                                                                 COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 79 of 80 Page ID #:79




                                      1   reference;

                                      2         2.     For an Order requiring Defendants to show cause why Defendants should

                                      3   not be enjoined as set forth herein during the pendency of this action;

                                      4         3.     For costs of suit incurred herein;

                                      5         4.     For such other and further relief as the Court may deem just and proper.

                                      6

                                      7         On the Fifteenth Claim for Relief for DECLARATORY RELIEF against All

                                      8   Defendants, including DOES 1-10:

                                      9         1.     For an order decreeing the rights and obligations of the parties, including
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                                     10   Plaintiff and Defendants, as well as unnamed and unknown parties, relating to the issues
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                                     11   specified herein, including as set forth under paragraph 292 hereof;

                                     12         2.     For costs of suit incurred herein;

                                     13         3.     For such other and further relief as the Court may deem proper.

                                     14
                                     15                                   Demand for Jury Trial

                                     16         Plaintiffs demand a trial by jury on all issues so triable.

                                     17   ///

                                     18   ///

                                     19   ///

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                                     21   ///

                                     22   ///

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                                                                                COMPLAINT
                                     Case 2:21-cv-05594-DSF-RAO Document 1 Filed 07/09/21 Page 80 of 80 Page ID #:80




                                      1   DATED: July 9, 2021               Respectfully submitted,

                                      2                                     CSREEDER, PC

                                      3                                     By: ________________________________
                                                                                  Christopher S. Reeder
                                      4                                           Elan Bloch

                                      5                                     JEFFER MANGELS BUTLER &
                                                                            MITCHELL LLP
                                      6
                                                                                 /s/ Dan P. Sedor
                                                                            By: ________________________________
                                      7
                                                                                  Dan P. Sedor
                                      8                                           Vatche Zetjian

                                      9                                     ATTORNEYS FOR PLAINTIFFS, ARF
                                                                            DASHNAKTSUTYUN, WESTERN
CSREEDER, PC
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                                     10                                     U.S.A. AND ARMENIAN CULTURAL
                                                                            FOUNDATION
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                                                                         COMPLAINT
